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10
                               UNITED STATES DISTRICT COURT
11
                              CENTRAL DISTRICT OF CALIFORNIA
12
13    NJOY, LLC,                              Case No. 2:23-cv-08798
14               Plaintiff,                   COMPLAINT
15
      v.
16
      iMiracle (HK) Limited; Shenzhen 1. UNFAIR COMPETITION
17    iMiracle Technology Co., Ltd.;            (Bus. & Prof. Code § 17200 et seq.)
18    Shenzhen Weiboli Technology Co.
      Ltd.; Vapeonly Technology Co. Ltd.; 2. FALSE ADVERTISING
19    Guangdong Qisitech Co., Ltd.;             (Bus. & Prof. Code § 17500 et seq.)
20    Shenzhen Han Technology Co., Ltd.;
                                             3. FALSE ADVERTISING IN
      Magellan Technology Inc.; Shenzhen
21                                              VIOLATION OF THE LANHAM
      IVPS Technology Co., Ltd.; Shenzhen
                                                ACT (15 U.S.C. § 1125(a))
22    Noriyang Technology Co., Ltd.;
      Shenzhen Innokin Technology Co. 4. VIOLATION OF THE
23    Ltd.; Shenzhen Funyin Electronic Co.,     PREVENT ALL CIGARETTE
24    Ltd.; Shenzhen Pingray Technology;        TRAFFICKING ACT OF 2009
      Pastel Cartel LLC; Affiliated Imports,    (15 U.S.C. § 375 et seq.)
25    LLC; American Vape Company, LLC
26    a/k/a American Vapor Company, DEMAND FOR A JURY TRIAL
      LLC; Dongguan (Shenzhen) Shikai
27    Technology Co., Ltd.; Breeze Smoke,
28    LLC; King Distribution LLC d/b/a

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 1    Lava Vape USA; Buzz Wholesale
      Inc.; HQD Tech USA, LLC; Maduro
 2
      Distributors d/b/a The Loon; BFL
 3    Metal Production, Ltd.; Dongguan
      Hengtai Biotechnology Co., Ltd.;
 4
      Flumgio Technology Ltd.; EVO
 5    Brands, LLC; Shenzhen Daosen
      Vaping Technology Co., Ltd.;
 6
      Shenzhen Fumot Vaping Technology
 7    Co., Ltd.; Flawless Vape Shop Inc.;
 8    Flawless     Vape    Wholesale     &
      Distribution Inc.; Price Point
 9    Distributors Inc. d/b/a Prince Point;
10    SV3 LLC d/b/a Mi-One Brands;
      Thesy, LLC d/b/a Element Vape;
11    VICA       Trading      Inc.    d/b/a
12    Vapesourcing; and PVG2, LLC,

13             Defendants.
14
15         Plaintiff NJOY, LLC (“Plaintiff”) brings this complaint against Defendants
16   iMiracle (HK) Limited; Shenzhen iMiracle Technology Co., Ltd.; Shenzhen Weiboli
17   Technology Co. Ltd.; Vapeonly Technology Co. Ltd.; Guangdong Qisitech Co.,
18   Ltd.; Shenzhen Han Technology Co., Ltd.; Magellan Technology Inc.; Shenzhen
19   IVPS Technology Co., Ltd.; Shenzhen Noriyang Technology Co., Ltd.; Shenzhen
20   Innokin Technology Co. Ltd.; Shenzhen Funyin Electronic Co., Ltd.; Shenzhen
21   Pingray Technology; Pastel Cartel LLC; Affiliated Imports, LLC; American Vape
22   Company, LLC a/k/a American Vapor Company, LLC; Dongguan (Shenzhen)
23   Shikai Technology Co., Ltd.; Breeze Smoke, LLC; King Distribution LLC d/b/a
24   Lava Vape USA; Buzz Wholesale Inc.; HQD Tech USA, LLC; Maduro Distributors
25   d/b/a The Loon; BFL Metal Production, Ltd.; Dongguan Hengtai Biotechnology Co.,
26   Ltd.; Flumgio Technology Ltd.; EVO Brands, LLC; Shenzhen Daosen Vaping
27   Technology Co., Ltd.; Shenzhen Fumot Vaping Technology Co., Ltd.; Flawless
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                                        COMPLAINT
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 1   Vape Shop Inc.; Flawless Vape Wholesale & Distribution Inc.; Price Point
 2   Distributors Inc. d/b/a Prince Point; SV3 LLC d/b/a Mi-One Brands; Thesy, LLC
 3   d/b/a Element Vape; VICA Trading Inc. d/b/a Vapesourcing; and PVG2, LLC
 4   (collectively, “Defendants”) and alleges as follows:
 5                              NATURE OF THE ACTION
 6         1.     This action arises out of the Defendants’ manufacture, distribution,
 7   marketing, and sale of unlawful tobacco products and the impact of those actions on
 8   the sale of lawful products manufactured by Plaintiff NJOY. Defendants’ actions
 9   constitute (i) unlawful, unfair, and fraudulent conduct in violation of the California
10   Unfair Competition Law (Cal. Bus. & Prof. Code § 17200, et seq.); (ii) false and
11   misleading advertising in violation of the California False Advertising Law (Cal.
12   Bus. & Prof. Code § 17500, et seq.); (iii) false advertising in violation of
13   Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); and (iv) violations of the
14   Prevent All Cigarette Trafficking Act of 2009, 15 U.S.C. § 375, et seq. Plaintiff
15   NJOY has been and continues to be harmed by the Defendants’ conduct and seeks
16   damages, injunctive and other equitable relief, restitution and disgorgement, fees and
17   costs, and such other relief as the Court finds just and proper.
18         2.     Defendants manufacture, distribute, market, and sell flavored
19   disposable vaping devices, referred to herein as “FDVs.” FDVs use a battery to heat
20   a nicotine-containing solution, referred to as an “e-liquid,” that creates an aerosol
21   that is inhaled by the user. FDVs use e-liquids that are artificially flavored to give
22   the aerosol certain tastes and aromas other than tobacco, such as candy, fruit, and
23   desserts. Unlike pod-based products, which can be refilled and reused, FDVs are
24   disposable and discarded after the e-liquid in the device is depleted.
25         3.     The sale of Defendants’ FDVs in California is unlawful. Any sale of
26   FDVs at California retail locations violates the state’s ban on flavored tobacco
27   products. Distribution and sale of FDVs is also contrary to federal law and the
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 1   policies and actions of the federal Food and Drug Administration (“FDA”). None
 2   of the Defendants’ FDVs has received premarket authorization from FDA. In many
 3   instances, Defendants have not even filed the applications required for premarket
 4   approval. Moreover, FDA has repeatedly issued warning letters over the last two
 5   years stating that Defendants’ FDV products are adulterated and misbranded and
 6   making clear that distribution and sale of these products are unlawful. FDA has also
 7   issued import alerts authorizing U.S. Customs and Border agents to seize products
 8   manufactured and distributed by certain Defendants and has sought civil penalties
 9   based on certain products’ continued sale. And Defendants have violated shipping,
10   registration, and other requirements imposed by the federal PACT Act.
11         4.     Despite California’s flavor ban and the FDA’s repeated actions,
12   Defendants continue to manufacture, market, distribute, and sell FDVs. When doing
13   so, Defendants do not tell consumers that their products are unlawful or the subject
14   of FDA actions. To the contrary, Defendants represent, expressly and implicitly,
15   that their FDVs are compliant with regulatory and legal requirements and can
16   lawfully be sold in California and elsewhere. Defendants’ representations are false
17   and misleading. Moreover, Defendants’ continued manufacture and distribution of
18   unlawful products and avoidance of regulatory requirements are unfair to companies
19   that comply with California’s flavor ban and manufacture and sell vapor products
20   that have received premarket approval from FDA.
21         5.     One of those companies is Plaintiff NJOY. Plaintiff manufactures and
22   distributes two brands of e-cigarettes, NJOY Daily and NJOY ACE. Plaintiff
23   distributes for sale in California tobacco-flavored NJOY Daily and its tobacco-
24   flavored NJOY ACE. Plaintiff does distribute or sell any non-tobacco flavored
25   vapor products or FDVs in California.        Plaintiff manufactures and distributes
26   menthol-flavored NJOY Daily and ACE products but only to certain locations
27   outside of California.
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 1         6.     Plaintiff invested significant time, effort, and resources when
 2   designing, developing, and testing tobacco-flavored NJOY Daily and NJOY ACE
 3   products, and when preparing and submitting the required applications for premarket
 4   approval to FDA. On June 10, 2022, after reviewing these voluminous submissions,
 5   FDA granted these applications and authorized the sale of tobacco-flavored NJOY
 6   Daily and tobacco-flavored NJOY ACE in the United States. Accordingly, in
 7   contrast to the Defendants’ FDVs, it is legal to sell tobacco-flavored NJOY products
 8   in California.
 9         7.     Since 2020, the sales volume and market share for FDVs have increased
10   significantly, and a large share of the e-cigarettes and vapor products sold in
11   California are now unlawful FDVs. During the same period, the sales volume and
12   market share for tobacco-flavored products like NJOY Daily and ACE have declined
13   sharply.
14         8.     Although some underage consumers purchase and use FDVs,
15   Plaintiff’s claims are not based on sales to or purchases by underage individuals.
16   Plaintiff does not market, distribute, or sell NJOY products to underage individuals.
17   And Plaintiff has taken and continues to take significant measures to prevent
18   underage access to and underage use of NJOY products and to prevent minors from
19   being exposed to NJOY marketing.
20         9.     Plaintiff’s claims instead are based on adult consumers, the adult
21   market for e-cigarettes, and the Defendants’ impact on that market. A massive
22   number of adult consumers have purchased and continue to purchase Defendants’
23   unlawful FDV products instead of lawful products like tobacco-flavored NJOY
24   Daily and ACE, causing Plaintiff to suffer lost sales, lost profits, and other economic
25   harm. This harm is the direct result of the Defendants’ unlawful, unfair, and
26   fraudulent conduct—without which their products could not be sold—and Plaintiff
27   will continue to suffer harm without relief from this Court.
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 1                             JURISDICTION AND VENUE
 2         10.    This Court has subject matter jurisdiction over this action pursuant to
 3   (i) 15 U.S.C. § 1121, as an action for violation of the Lanham Act, 15 U.S.C. § 1051
 4   et seq.; (ii) 15 U.S.C. § 378(a), as an action for violation of the Prevent All Cigarette
 5   Trafficking Act of 2009; and (iii) 28 U.S.C. § 1367(a), pursuant to the principles of
 6   supplemental jurisdiction.
 7         11.    This Court has personal jurisdiction over each Defendant. Defendants
 8   have had, and continue to have, significant contacts with California, including by
 9   manufacturing and distributing FDVs to be sold in California, shipping FDVs to
10   California, delivering FDVs to California, marketing and advertising FDVs in
11   California, and selling FDVs in California. Each Defendant also has purposefully
12   availed itself of the benefits of California law. In addition, Plaintiff’s claims arise
13   out of and relate to each Defendant’s contacts with California. And it would not
14   offend notions of fair play and due process to exercise of personal jurisdiction over
15   each Defendant.
16         12.    A substantial part of the events and omissions giving rise to the
17   Plaintiff’s causes of action occurred in or emanated from this District. Pursuant to
18   28 U.S.C. § 1391(a), venue is therefore proper in this District.
19                                      THE PARTIES
20         13.    Plaintiff NJOY, LLC is a limited liability company organized under the
21   laws of Delaware with its principal place of business at 9977 N. 90th Street,
22   Scottsdale, Arizona 85258.
23         14.    Defendant iMiracle (HK) Limited (“iMiracle HK”) is a Hong Kong
24   limited liability company that has its principal place of business in Hong Kong.
25   Defendant iMiracle (HK) manufactures, markets, distributes, and/or sells FDVs,
26   including Elf Bar, EB, EB Create, and EB Design products, owns or controls
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 1   businesses engaged in such conduct, and/or previously engaged in such conduct or
 2   possessed such ownership or control.
 3         15.   Defendant iMiracle HK is an affiliate of Defendant Shenzhen iMiracle
 4   Technology Co. Ltd. (“Shenzhen iMiracle”), a Chinese limited company with its
 5   principal place of business at RM 306-311, Tianshuzuo, No. 6099 Ba’an Avenue,
 6   Bao’an District, Shenzhen, China 518000.          Defendant Shenzhen iMiracle
 7   manufactures, markets, distributes, and/or sells FDVs, including Elf Bar, EB, EB
 8   Create, and EB Design products, owns or controls businesses engaged in such
 9   conduct, and/or previously engaged in such conduct or possessed such ownership or
10   control.
11         16.   Upon information and belief, iMiracle HK and Shenzhen iMiracle are
12   both affiliates of Defendant Shenzhen Weiboli Technology Co. Ltd. (“Shenzhen
13   Weiboli”), which is located at the same address as Shenzen iMiracle. Defendant
14   Shenzhen iMiracle manufactures, markets, distributes, and/or sells FDVs, including
15   Elf Bar, EB, EB Create, and EB Design products, owns or controls businesses
16   engaged in such conduct, and/or previously engaged in such conduct or possessed
17   such ownership or control.
18         17.   Defendant Vapeonly Technology Co. Ltd. (“Vapeonly”) is a Chinese
19   limited company with its principal place of business at Room 306-311, Tianshu
20   Building, No. 6099, Bao’an Avenue, Bao’an District, Shenzhen, China 518000.
21   Defendant Vapeonly manufactures, markets, distributes, and/or sells FDVs,
22   including Elf Bar, EB, EB Create, and EB Design products, owns or controls
23   businesses engaged in such conduct, and/or previously engaged in such conduct or
24   possessed such ownership or control.
25         18.   Defendant Guangdong Qisitech Co., Ltd. (“Guangdong Qisitech”) is a
26   Chinese limited company with an address at Fuxing Road, Changan Twon Room
27   201, Building 3, No. 36, Dongguan City, Guangdong Province, China 52300.
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 1   Defendant Guangdong Qisitech manufactures, markets, distributes, and/or sells
 2   FDVs, including Elf Bar, EB, EB Create, and EB Design products, owns or controls
 3   businesses engaged in such conduct, and/or previously engaged in such conduct or
 4   possessed such ownership or control.
 5         19.   Defendants iMiracle HK, Shenzhen iMiracle, Shenzhen Weiboli,
 6   Vapeonly, and Guangdong Qisitech are collectively referenced in this Complaint as
 7   “the Elf Bar Defendants.”
 8         20.   Defendant Shenzhen Han Technology Co., Ltd. (“Shenzhen Han”) is a
 9   Chinese limited company with an address at Qianwan Hard Technology Park, Baoan
10   District, Shenzhen, Guangdong, China 518126.           Defendant Shenzhen Han
11   manufactures, markets, distributes, and/or sells FDVs, including Lost Mary
12   products, owns or controls businesses engaged in such conduct, and/or previously
13   engaged in such conduct or possessed such ownership or control.
14         21.   Defendant Shenzhen IVPS Technology Co., Ltd. (“Shenzhen IVPS”) is
15   a Chinese limited company with an address at 101, Building B8, No. 2, Cengayo,
16   Industrial Area, Yuluv Community, Yutang Subdistrict, Guangming District,
17   Shenzhen, China 518001. Shenzhen IVPS also has an address at Room 101,
18   Building 69, Liantang Indus. Zone Fenghuang Street, Guangming New District,
19   Shenzhen, China 518000.       Defendant Shenzhen IVPS manufactures, markets,
20   distributes, and/or sells FDVs, including Hyde products, owns or controls businesses
21   engaged in such conduct, and/or previously engaged in such conduct or possessed
22   such ownership or control.
23         22.   Defendant Shenzhen Noriyang Technology Co., Ltd. (“Shenzhen
24   Noriyang”) is a Chinese limited company with a principal place of business at Room
25   303, Building A, Zhonghengsheng High-Tech Park, Xinyu Road, Shajing Town,
26   Baoan District, Shenzhen, Guangdong Province, China, 518104.             Defendant
27   Noriyang manufactures, markets, distributes, and/or sells FDVs, including Hyde
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 1   products, owns or controls businesses engaged in such conduct, and/or previously
 2   engaged in such conduct or possessed such ownership or control.
 3         23.   Defendant Magellan Technology Inc. (“Magellan”) is a corporation
 4   formed under the laws of the State of New York with a principal place of business
 5   at 2225 Kenmore Avenue, Buffalo, NY 14207. Defendant Magellan manufactures,
 6   markets, distributes, and/or sells FDVs, including Hyde products, owns or controls
 7   businesses engaged in such conduct, and/or previously engaged in such conduct or
 8   possessed such ownership or control.
 9         24.   Defendants Shenzhen IVPS, Shenzhen Noriyang, and Magellan are
10   collectively referenced in the Complaint as “the Hyde Defendants.”
11         25.   Defendant Shenzhen Innokin Technology Co., Ltd. (“Shenzhen
12   Innokin”) is a Chinese corporation with a principal place of business at 2nd Floor,
13   Building 6 & Unit B, 3rd Floor, Building 10, Xinxintian Industrial Park, Xinsha
14   Road, Shajing, Bao’an District, Shenzhen, China. Defendant Shenzhen Innokin
15   manufactures, markets, distributes, and/or sells FDVs, including Esco and Esco Bar
16   products, owns or controls businesses engaged in such conduct, and/or previously
17   engaged in such conduct or possessed such ownership or control.
18         26.   Defendant Shenzhen Funyin Electronic Co., Ltd. (“Funyin Electronic”)
19   is a Chinese limited company with its principal place of business at 205 and 401,
20   Building A3, Fuyan Ind. Zone Tangwei Community, Fuhai St., Bao’an Dist.
21   Shenzhen, Guangdong, China 518000. Defendant Funyin Electronic manufactures,
22   markets, distributes, and/or sells FDVs, including Esco and Esco Bar products, owns
23   or controls businesses engaged in such conduct, and/or previously engaged in such
24   conduct or possessed such ownership or control.
25         27.   Defendant Shenzhen Pingray Technology (“Pingray”) is a Chinese
26   limited company with its principal place of business at 3rd Floor, No. 9 Building,
27   HuaFeng International Made City, WanLe Rd., Shajing St., Bao’an District,
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 1   Shenzhen City, China 518000.         Defendant Pingray manufactures, markets,
 2   distributes, and/or sells FDVs, including Esco and Esco Bar products, owns or
 3   controls businesses engaged in such conduct, and/or previously engaged in such
 4   conduct or possessed such ownership or control.
 5         28.   Defendant American Vape Company, LLC a/k/a American Vapor
 6   Company, LLC (“AVC”) is a Texas limited liability company located at 13326
 7   Immanuel Road, Pflugerville, Texas 78660. AVC markets, distributes, and sells
 8   FDVs, including Esco and Esco Bar products, owns or controls businesses engaged
 9   in such conduct, and/or previously engaged in such conduct or possessed such
10   ownership or control. AVC also co-owns the trademark for FDVs sold under the
11   trade name “Esco Bar” and the trademark to the trade name “Pastel Cartel.” AVC
12   operates the website www.americanvaporcompany.com.
13         29.   Defendant Pastel Cartel LLC (“Pastel Cartel”) is a limited liability
14   company organized under the laws of Texas with a principal place of business at
15   11305 Four Points, Austin, TX 78726. Pastel Cartel markets, distributes, and sells
16   FDVs, including Esco Bar-branded products, owns or controls businesses engaged
17   in such conduct, and/or previously engaged in such conduct or possessed such
18   ownership or control.       Pastel Cartel operates the e-commerce website
19   www.escobars.com.
20         30.   Defendant Affiliated Imports, LLC (“Affiliated Imports”) is a Texas
21   limited liability company located at 13326 Immanuel Road, Pflugerville, Texas
22   78600. Affiliated Imports is registered to AVC and acts as AVC’s and Pastel
23   Cartel’s consignee and importer for shipments of Esco Bar FDVs entering the United
24   States and/or previously engaged in such conduct.
25         31.   Defendant Dongguan (Shenzhen) Shikai Technology Co., Ltd. (“Shikai
26   Technology” is a Chinese limited company with its principal place of business at L5
27   Block A Shuangjinhui Tongfuyu Fuyong, Baoan Shenzhen, Guangdong, China
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 1   518101, and a manufacturing address of No. 6, Shayong Road, Shajiao Community,
 2   Humen Town, Dongguan City, Guangdong Province, China,(Mainland). Defendant
 3   Shikai Technology manufactures, markets, distributes, and/or sells FDVs, including
 4   Breeze products, owns or controls businesses engaged in such conduct, and/or
 5   previously engaged in such conduct or possessed such ownership or control.
 6         32.   Defendant Breeze Smoke, LLC (“Breeze Smoke”) is a limited liability
 7   company formed under the laws of Michigan with a principal place of business at
 8   4654 Lilly Ct., West Bloomfield, MI 48323, and a distribution address of 26056 Van
 9   Dyke Ave., STF 3537, Centerline, MI 48015.              Defendant Breeze Smoke
10   manufactures, markets, distributes, and/or sells FDVs, including Breeze products,
11   owns or controls businesses engaged in such conduct, and/or previously engaged in
12   such conduct or possessed such ownership or control.
13         33.   Defendant King Distribution LLC d/b/a Lava Vape USA (“King
14   Distribution”) is a corporation formed under the laws of New Jersey with a principal
15   place of business at 356 Getty Avenue, Clifton, NJ 07011.          Defendant King
16   Distribution manufactures, markets, distributes, and/or sells FDVs, including Lava
17   products, owns or controls businesses engaged in such conduct, and/or previously
18   engaged in such conduct or possessed such ownership or control.
19         34.   Defendant Buzz Wholesale Inc. (“Buzz Wholesale”) is a corporation
20   formed under the laws of New Jersey with a principal place of business at 356 Getty
21   Ave #6, Clifton NJ 07011. Defendant Buzz Wholesale operates the e-commerce
22   website www.lavapods.com. Defendant Buzz Wholesale markets, distributes, and
23   sells FDVs manufactured by King Distribution, including Lava products, and/or
24   previously engaged in such conduct.
25         35.   Defendant HQD Tech USA, LLC (“HQD”) is a limited liability
26   company organized under the laws of Florida, with a principal place of business at
27   1129 W. 68th St., Hialeah, FL 33014. Defendant HQD manufactures, markets,
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 1   distributes, and/or sells FDVs, including HQD products, owns or controls businesses
 2   engaged in such conduct, and/or previously engaged in such conduct or possessed
 3   such ownership or control.           HQD operates the e-commerce website,
 4   www.hqdtechusa.com, and/or did so in the past.
 5         36.    Defendant Loon Tobacco LLC (“The Loon”) is a Minnesota limited
 6   liability company registered to do business at 227 Twillite Terrace, Circle Pines, MN
 7   55014. Defendant The Loon manufactures, markets, distributes, and/or sells FDVs,
 8   including Loon Maxx, Loon Air+, Pluto Bars, Juicebox, King Pluto Enzo, and King
 9   Pluto Due products, owns or controls businesses engaged in such conduct, and/or
10   previously engaged in such conduct or possessed such ownership or control.
11         37.    Defendant BFL Metal Production, Ltd. (“BFL Metal Production”) is a
12   Chinese company with its principal place of business at No. 15A Shop, 2nd Floor,
13   Building 6 No. 10 Laixiang Road, Chancheng, Foshan, China 528000. Defendant
14   BFL Metal Production manufactures, markets, distributes, and/or sells FDVs,
15   including Fume and LD products, owns or controls businesses engaged in such
16   conduct, and/or previously engaged in such conduct or possessed such ownership or
17   control.
18         38.    Defendant Dongguan Hengtai Biotechnology Co., Ltd. (“Dongguan
19   Hengtai”) is a Chinese company with its principal place of business at Room 5028,
20   No. 915, Chang’an Section Tai’an Road, Chang’an Town Dongguan, Guangdong,
21   China 518000. Defendant Dongguan Hengtai manufactures, markets, distributes,
22   and/or sells FDVs, including Mr. Fog products, owns or controls businesses engaged
23   in such conduct, and/or previously engaged in such conduct or possessed such
24   ownership or control.
25         39.    Defendant Flumgio Technology Ltd. (“Flumgio”) is a Hong Kong
26   corporation with its principal place of business at Rm 21, Unit A, 1F, Tn Wui
27   Industrial Bldg., No. 3 Hing Wong Street, Tuen Mun, M.T. Hong Kong. Defendant
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 1   Flumgio manufactures, markets, distributes, and/or sells FDVs, including Flum
 2   products, owns or controls businesses engaged in such conduct, and/or previously
 3   engaged in such conduct or possessed such ownership or control.
 4         40.   Defendant Shenzhen PD Technology Co. Ltd. (“Shenzhen PD”) is a
 5   Chinese corporation that is affiliated with Defendant Flumgio. Upon information
 6   and belief, Defendant Shenzhen PD’s principal place of business at the same location
 7   as Flumgio. Defendant Shenzhen PD manufactures, markets, distributes, and/or
 8   sells FDVs, including Flum products, owns or controls businesses engaged in such
 9   conduct, and/or previously engaged in such conduct or possessed such ownership or
10   control.
11         41.   Defendant Shenzhen Daosen Vaping Technology Co., Ltd. (“Shenzhen
12   Daosen”) is a Chinese limited company with an address at #501, Building B1,
13   Quanzhi Zhihui Park, Ligang S. Road, Shajin Street, Baon’an District, Shenzhen,
14   China 518104. Defendant Shenzhen Daosen manufactures, markets, distributes,
15   and/or sells FDVs, including Puff Bar products, owns or controls businesses engaged
16   in such conduct, and/or previously engaged in such conduct or possessed such
17   ownership or control. Defendant Shenzhen Daosen markets and sells FDVs from the
18   website www.dsvaping.en.made-in-china.com and/or has done so in the past.
19         42.   Defendant EVO Brands, LLC (“EVO Brands”) is a Delaware limited
20   liability company with a registered address at 251 Little Falls Drive, Wilmington,
21   Delaware 19808. Defendant EVO Brands owns all of the foreign and domestic Puff
22   Bar-related trademarks. On July 6, 2022, EVO Brands submitted a change-of-
23   address form to the U.S. Patent and Trademark Office, proposing to change its
24   address to 1700 Santa Fe Avenue, Ste. 420, Los Angeles, California.
25         43.   Defendant PVG2, LLC (“PVG2”) is a Delaware limited liability
26   company with a registered address at 251 Little Falls Drive, Wilmington, Delaware
27   19808. PVG2 is affiliated with EVO Brands. PVG2 has 11 branches across 11
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 1   states, three of which are registered to the same address as EVO Brands. PVG2
 2   markets, distributes, and sells FDVs from the website www.puffbar.com, including
 3   Puff Bar products, and/or has done so in the past.
 4          44.    Defendant Shenzhen Fumot Vaping Technology Co., Ltd. (“Shenzhen
 5   Fumot”) is a Chinese limited company with an address of A2907, Building A
 6   Longguan Jiuzuan Business Center, Minzhi Longhua, Shenzhen, China 518000.
 7   Defendant Shenzhen Fumot manufactures, markets, distributes, and/or sells FDVs,
 8   including RandM products, owns or controls businesses engaged in such conduct,
 9   and/or previously engaged in such conduct or possessed such ownership or control.
10   Shenzhen Fumot sells FDVs from its website www.randm-shop.online and through
11   third-party wholesale websites such as www.made-in-china.com, including RandM
12   products, and/or has done so in the past.
13          45.    Defendant Flawless Vape Shop Inc. is a California corporation with a
14   registered address at 1021 E. Orangethorpe Avenue, Anaheim, California 92801. On
15   various filings with the California Secretary of State, Defendant Flawless Vape Shop
16   Inc. lists its principal office at 17421 Nichols Lane, Ste. P, Huntington Beach,
17   California 82647. Defendant Flawless Vape Shop Inc. markets, distributes, and sells
18   FDVs to consumers in California and across the country, including from the website
19   www.flawlessvapeshop.com, and/or has done so in the past.
20          46.    Defendant Flawless Vape Wholesale & Distribution Inc. is a California
21   corporation with a registered address at 1021 E. Orangethorpe Avenue, Anaheim,
22   California 92801.     On various filings with the California Secretary of State,
23   Defendant Flawless Vape Wholesale & Distribution Inc. lists its principal office at
24   5589 E. Santa Ana Canyon Road, Anaheim, California 92807. Defendant Flawless
25   Vape markets, distributes, and sells FDVs to consumers in California and across the
26   country, including from the website www.flawlessvapeshop.com, and/or has done
27   so in the past.
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 1         47.    Defendant Price Point Distributors Inc. d/b/a Prince Point (“Price
 2   Point”) is a New York corporation with its principal place of business at 500 Smith
 3   Street, Farmingdale, New York 11735. Defendant Price Point’s fulfillment
 4   warehouse is located at that same address.       Defendant Price Point markets,
 5   distributes, and sells FDVs to consumers in California and across the country,
 6   including from the website www.pricepointny.com, and/or has done so in the past.
 7         48.    Defendant SV3 LLC d/b/a Mi-One Brands (“Mi-One”) is an Arizona
 8   limited liability company with its corporate headquarters at 4908 E. McDowell
 9   Road, Phoenix, Arizona 85008. Mi-One’s fulfillment warehouse is located at that
10   same address. Defendant Mi-One also has a fulfillment warehouse at 3325 W.
11   Alibaba Lane, #616, Las Vegas, NV 89118. Defendant Mi-One markets, distributes,
12   and sells FDVs to consumers in California and across the country, including from
13   the website https://www.mipod.com, and/or has engaged in such conduct in the past.
14         49.    Defendant Thesy, LLC d/b/a Element Vape (“Element Vape”) is a
15   California limited liability company with a principal place of business at 10620
16   Hickson Street, El Monte, California 91731. Defendant Element Vape’s fulfillment
17   warehouse is located at that same address. Defendant Element Vape markets,
18   distributes, and sells FDVs to consumers in California and across the country,
19   including from the website www.elementvape.com, and/or has engaged in such
20   conduct in the past.
21         50.    Defendant VICA Trading Inc. d/b/a Vapesourcing (“Vape Sourcing”)
22   is a California corporation with a principal place of business at 3045 Edinger
23   Avenue, Tustin, California 92780.       Defendant Vape Sourcing’s fulfillment
24   warehouse is located at that same address. Defendant Vape Sourcing markets,
25   distributes, and sells FDVs to consumers in California and across the country,
26   including from the website www.vapesourcing.com, and/or has engaged in such
27   conduct in the past.
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 1                              FACTUAL ALLEGATIONS
 2   I.      Premarket Authorization Requirements under Federal Law
 3           51.   In 2016, pursuant to the Family Smoking Prevention and Tobacco
 4   Control Act, 21 U.S.C. § 387 et seq. (“Tobacco Control Act”), FDA adopted the
 5   “Deeming Rule.” 21 C.F.R. § 1143.1. The Deeming Rule provided that e-cigarettes
 6   and electronic nicotine delivery devices, including FDVs, would be treated as
 7   “tobacco products” under the Tobacco Control Act and thus would be subject to the
 8   Tobacco Control Act and regulated by FDA.
 9           52.   The Tobacco Control Act and FDA’s regulatory regime generally
10   require that companies obtain marketing authorization from FDA before any “new”
11   tobacco product—a tobacco product that was not on the market in the United States
12   as of February 15, 2007—can be sold in the United States.
13           53.   Before introducing a new tobacco product to the United States market,
14   a company must submit a marketing application to FDA to receive authorization.
15   FDA provides three possible pathways to market for new tobacco products:
16   premarket tobacco product applications (“PMTA”), substantial equivalence reports,
17   and requests for exemption from demonstrating substantial equivalence.1
18           54.   The substantial equivalence and request for exemption from substantial
19   equivalence pathways compare the new tobacco product to a pre-existing predicate
20   product that was available in the United States as of February 15, 2007. No valid
21   pre-existing e-cigarette or vapor product has been identified.        Accordingly,
22   applications accepted through these two pathways have been limited to cigarettes,
23   cigars, hookah tobacco, roll-your-own tobacco, smokeless tobacco products, and
24
25
26   1
      Market and Distribute a Tobacco Product, U.S. Food & Drug Administration (Apr.
27   11, 2022) (available at https://www.fda.gov/tobacco-products/products-guidance-
28   regulations/market-and-distribute-tobacco-product).
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 1   rolling papers, and the only premarket applications for e-cigarette and vapor
 2   products accepted by FDA have been through the PMTA pathway. 2
 3             55.   To obtain market approval, a PMTA must demonstrate to FDA that
 4   marketing the new tobacco product is “appropriate for the protection of the public
 5   health.” 21 U.S.C. § 387g; 21 C.F.R. § 1114.7(c). This determination turns in part
 6   on the increased or decreased likelihood that existing users of tobacco products will
 7   stop using those products, as well as the increased or decreased likelihood that those
 8   who do not use tobacco products will start.
 9             56.   In practice, FDA’s PMTA process requires that an applicant submit a
10   vast array of scientific data and analysis, at significant time and expense to the
11   applicant. The applicant must provide detailed scientific information about
12   consumer behavioral factors and anticipated product usage patterns. It also must
13   provide extensive clinical and nonclinical data regarding the toxicological content
14   of the product and its effects on users and nonusers, including in vitro and in vivo
15   toxicological studies, and an analysis of all relevant scientific literature and other
16   relevant scientific analyses. 3 PMTAs therefore can take years to develop and
17   comprise many thousands of pages of data.
18             57.   When FDA issued the final Deeming Rule, and made e-cigarettes and
19   vapor products subject to the Tobacco Control Act, the agency also announced a
20   compliance policy for premarket review of those products. Under this policy, e-
21   cigarettes and vapor products that were on the market in the United States as of
22   August 8, 2016, could remain on the market provided the manufacturer submitted a
23
24
25
     2
         Id.
26   3
        See generally FDA, Guidance for Industry, Premarket Tobacco Product
27   Applications for electronic Nicotine Delivery Systems (Revised) (March 2023)
28   (available at https://www.fda.gov/media/127853/download).
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 1   PMTA for the product within 24 months of the rule’s effective date, August 8, 2018.4
 2   That deadline was later extended to September 9, 2020.5 In contrast to products
 3   available as of August 8, 2016, under the Deeming Rule and the FDA’s compliance
 4   policy, any e-cigarette or vapor product that was not on the market on August 8,
 5   2016 could no longer be sold in the United States.
 6             58.   In April 2020, FDA published a report setting forth the agency’s revised
 7   enforcement priorities for e-cigarettes and vapor products. 6 In this document, FDA
 8   “describes how [it] intend[s] to prioritize [its] enforcement resources with regard to
 9   the marketing of certain deemed tobacco products that do not have premarket
10   authorization.”7
11             59.   The FDA’s enforcement policy states that FDA “intends to prioritize
12   enforcement against” the following kinds of products: (1) “[a]ny flavored, cartridge-
13   based ENDS product (other than a tobacco- or menthol-flavored ENDS product),”
14   (2) “[a]ll other ENDS products for which the manufacturer has failed to take (or is
15   failing to take) adequate measures to prevent minors’ access,” and (3) “[a]ny ENDS
16   product that is targeted to minors or whose marketing is likely to promote use of
17
18
19   4
      Deeming Tobacco Products to Be Subject to the Federal Food, Drug, and Cosmetic
     Act, 81 Fed. Reg. 28974, 28977-78 (May 10, 2016).
20
     5
       See FDA Statement, Coronavirus (COVID-19) Update: Court Grants FDA’s
21
     Request for Extension of Premarket Review Submission Deadline for Certain
22   Tobacco Products Because of Impacts from COVID-19 (April 23, 2020) (available
     at https://www.fda.gov/news-events/press-announcements/coronavirus-covid-19-
23
     update-court-grants-fdas-request-extension-premarket-review-submission-
24   deadline).
25
     6
       Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and
     Other Deemed Products on the Market Without Premarket Authorization (Revised)
26   at 2, Guidance for Industry,             FDA (April 2020) (available at
27   https://www.fda.gov/media/133880/download).
     7
28       Id.
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 1   ENDS by minors.” 8 FDA also said that it “intends to prioritize enforcement of any
 2   ENDS product that is offered for sale after September 9, 2020, and for which the
 3   manufacturer has not submitted a premarket application (or after a negative action
 4   by FDA on a timely submitted application).” 9
 5              60.   The Tobacco Control Act and the FDA’s regulatory process and
 6   requirements apply to both products that contain nicotine derived from tobacco and
 7   products that contain synthetic nicotine that did not come from tobacco plants
 8   (referred to as non-tobacco nicotine or “NTN”). 10 Indeed, in response to the
 9   increased availability and sale of NTN, Congress passed a law in March 2022 that
10   made clear that the FDA’s authority to regulate tobacco products extends to products
11   containing nicotine from any source, including NTN.11 Congress further provided
12   that synthetic nicotine products could remain on the market for only 90 days, and
13   FDA has never issued a compliance policy that modified that provision. 12
14              61.   FDA issued its first marketing denial orders concerning e-cigarette and
15   vapor products on August 26, 2021, when it denied premarket approval applications
16   for approximately 55,000 flavored e-cigarette and vapor products. 13
17
18
19
20
     8
         Id. at 3.
     9
21       Id.

22
     10
       Regulation & Enforcement of Non-Tobacco Nicotine (NTN) Products, U.S. Food
     & Drug Administration (June 9, 2023) (available at https://www.fda.gov/tobacco-
23   products/products-ingredients-components/regulation-and-enforcement-non-
24   tobacco-nicotine-ntn-products).
     11
          Id.
25
     12
          Id.; see also Pub. L. 117-35, Sec. 111(d) (March 15, 2022).
26   13
       See E-cigarette Unit Sales by Product and Flavor Type, and Top-Selling Brands,
27   United States, 2020-2022, Morbidity & Mortality Weekly Rpt. (Centers for Disease
28   Control and Prevention) (Jun. 23, 2023).
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 1            62.   As of September 2023, FDA had authorized the sale of 45 new tobacco
 2   products through the PMTA pathway, including 23 tobacco-flavored e-cigarette and
 3   vapor products.14
 4            63.   FDA has not authorized the marketing or sale of any FDV.
 5   II.      California’s State-Wide Flavor Ban and Restrictions on Tobacco
 6            Products
 7            64.   California has adopted an extensive regulatory framework for tobacco
 8   products that seeks to ensure that only legal products are sold to consumers and to
 9   prevent youth access to these products. For example, under California’s Stop
10   Tobacco Access to Kids Enforcement Act (“STAKE Act”), the sale of e-cigarettes,
11   including FDVs, to persons under the age of 21 is prohibited both at physical retail
12   locations and by delivery sales. Cal. Bus. & Prof. Code §§ 22958, 22975. Moreover,
13   retailers, wholesalers, and distributors of tobacco products must obtain licenses. Id.
14   §§ 22972, 22975.
15            65.   California also requires that delivery sellers of e-cigarettes and vapor
16   products verify the consumer’s age by checking the consumer’s information against
17   “an appropriate database of government records.” Id. § 22963(b). The seller also
18   must verify that the billing address on the check or credit card offered for payment
19   matches the address listed in the database. Id. § 22975(b). In addition, the distributor
20   or seller must make a telephone call after 5 p.m. to the purchaser confirming the
21   order before it can ship the tobacco products. Id. § 22975(b)(3).
22            66.   Tobacco products also must be delivered in a container that is
23   conspicuously labeled with the words, “CONTAINS TOBACCO PRODUCTS:
24   SIGNATURE OF PERSON 21 YEARS OF AGE OR OLDER REQUIRED FOR
25
26
     14
        Premarket Tobacco Product Marketing Granted Orders, U.S. Food & Drug
     Administration (Sept. 20, 2023) (available at https://www.fda.gov/tobacco-
27   products/premarket-tobacco-product-applications/premarket-tobacco-product-
28   marketing-granted-orders).
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 1   DELIVERY.” And a person aged 21 or older must provide a signature to receive a
 2   tobacco product delivery. Id. § 22963.
 3          67.     California also imposes a tax on e-cigarettes and vapor products,
 4   including FDVs, at the rate of 61.74% of the wholesale price. E-cigarettes and vapor
 5   products, including FDVs, are also subject to a 12.5% sales tax. And all sellers of
 6   these products, including those that are located outside the state but sell to consumers
 7   in the state, are required to collect the tax and remit it to the California Department
 8   of Tax and Fee Administration. Cal. Rev. & Tax. Code §§ 31002, 30130.51.
 9          68.     In 2020, California enacted Senate Bill 793, which banned the sale of
10   flavored tobacco products in the state. After withstanding a voter referendum in
11   November 2022, the bill amended the California Health and Safety Code by adding
12   a provision that prohibits selling, offering for sale, or possessing with the intent to
13   sell or offer to sell “a flavored tobacco product or a tobacco product flavor
14   enhancer.” Cal. Health & Safety Code § 104559.5(b)(1). A “flavored tobacco
15   product is one “that contains a constituent that imparts a characterizing flavor.” Id.
16   § 104559.5(a)(4). A “characterizing flavor” is “a distinguishable taste or aroma, or
17   both, other than the taste or aroma of tobacco, imparted by a tobacco product or any
18   byproduct produced by the tobacco product.” Id. § 104559.5(a)(1) (emphasis
19   added).      The law broadly defines “tobacco product” to include any “product
20   containing, made, or derived from tobacco or nicotine.” Id. § 104495(b).
21          69.     California’s ban on flavored tobacco products applies to all FDVs and
22   makes the sale of FDVs at retail locations in California illegal under state law.
23   III.   NJOY Products and the FDA’s Market Approval Orders
24          70.     The NJOY brand was founded in 2006 with the formation of NJOY Inc.
25   and was a pioneer in vaping and one of the first major electronic cigarettes brands
26   in the United States. In 2017, NJOY LLC purchased the assets of NJOY Inc.,
27   including the NJOY brand.
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 1         71.    Plaintiff is the only company that has partnered with the National
 2   Institute of Drug Abuse (“NIDA”) to develop, test, and manufacture a Standard
 3   Research Electronic Cigarette (“SREC”), which plays a critical role in clinical and
 4   public health research in the United States. SRECs are used as a consistent, well-
 5   characterized investigational product in independent clinical studies funded by
 6   NIDA and the National Institutes of Health. SRECs are currently being used in
 7   eleven ongoing clinical studies and planned for use in at least five additional studies
 8   to expand scientific knowledge regarding the impact of e-cigarettes and vapor
 9   products on public health.
10         72.    Plaintiff’s mission is to offer a range of electronic nicotine products for
11   adult consumers in the United States looking for a potentially less harmful
12   alternative to traditional combustible cigarettes.      Plaintiff currently offers two
13   commercial product lines, NJOY Daily and NJOY ACE.                  NJOY Daily is a
14   disposable electronic cigarette that has the same form factor as a traditional cigarette.
15   NJOY ACE is a pod vaporizer device that comprises a reusable and rechargeable
16   electronic device and a disposable pod that stores a vaporizable liquid and is inserted
17   into the electronic device for use. Once the liquid in an ACE pod is depleted, the
18   adult consumer can replace the used ACE pod with a new one.
19         73.    Plaintiff has made and continues to make substantial investments into
20   research and development, including designing, engineering, manufacturing, and
21   seeking regulatory authorization for its products. In addition, Plaintiff has invested
22   and continues to invest significant resources into marketing NJOY ACE and NJOY
23   Daily products.
24         74.    The PMTAs for tobacco-flavored and menthol-flavored NJOY ACE
25   and NJOY Daily products were received by FDA on March 10, 2020.                     The
26   applications totaled tens of thousands of pages, including numerous scientific studies
27   and extensive consumer research.            Plaintiff submitted scientific evidence
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 1   demonstrating NJOY ACE and NJOY Daily products are less harmful than
 2   combustible cigarettes and showing meaningful switching among consumers from
 3   combustible cigarettes to NJOY products. Plaintiff also submitted youth prevalence
 4   data showing miniscule levels of youth interest in NJOY products.
 5           75.      In early 2020, Plaintiff voluntarily removed blueberry- and
 6   watermelon-flavored products from the market.
 7           76.      After two years of rigorous scientific review, FDA issued an order on
 8   April 26, 2022, granting market authorization to the NJOY ACE device and three
 9   tobacco-flavored NJOY ACE pods, Classic Tobacco 2.4%, Classic Tobacco 5%, and
10   Rich Tobacco 5%.15 On June 10, 2022, FDA granted premarket authorization to two
11   tobacco-flavored NJOY Daily products, NJOY Daily Rich Tobacco 4.5% and NJOY
12   Daily Extra Rich Tobacco 6%. 16
13           77.      When authorizing Plaintiff’s NJOY products, FDA made the following
14   findings regarding the positive impacts on the public health that these products
15   provide as compared to traditional combustible cigarettes:
16           • “[T]hese products have the potential to benefit adult smokers who switch
17                 completely or significantly reduce their cigarette consumption.” 17
18           • “The NJOY User Study demonstrated that switching from combusted
19                 cigarettes to the new ENDS products does occur among current adult
20
21   15
       FDA Issues Marketing Decisions on NJOY Ace E-Cigarette Products, U.S. Food
22   & Drug Admin. (April 26, 2022) (available at https://www.fda.gov/tobacco-
     products/ctp-newsroom/fda-issues-marketing-decisions-njoy-ace-e-cigarette-
23
     products).
24   16
       FDA Issues Marketing Decisions on NJOY Daily E-Cigarette Products, U.S. Food
25   & Drug Admin. (June 10, 2022) (available at https://www.fda.gov/tobacco-
     products/ctp-newsroom/fda-issues-marketing-decisions-njoy-daily-e-cigarette-
26   products).
27   17
       FDA, Technical Project Lead (TPL) Review of PMTAs, NJOY LLC, at 6 (April
28   25, 2022) (available at https://www.fda.gov/media/164458/download?attachment).
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 1                    smokers. The applicant has therefore demonstrated the potential for these
 2                    products to benefit adult smokers as compared to continued exclusive
 3                    cigarette use.”18
 4              • “Chemical testing submitted in the PMTAs was sufficient to determine that
 5                    overall harmful and potentially harmful constituent (HPHC) levels in the
 6                    aerosol of these products are lower than in combusted cigarette smoke. The
 7                    overall toxicological risk to the users of the new products is lower
 8                    compared to cigarettes due to significant reductions in aerosol HPHCs of
 9                    the new products compared to cigarettes.” 19
10              78.      Based on these and other findings, FDA concluded that “permitting
11   marketing of the new products . . . is appropriate for the protection of the public
12   health.”20
13              79.      NJOY ACE is the only FDA-authorized pod vaporizer device on the
14   market in the United States.
15              80.      Plaintiff’s authorized products are subject to continued FDA oversight.
16   This includes post-market surveillance and reporting requirements that cover
17   NJOY’s: labeling; advertising, marketing and promotional materials; changes to
18   manufacturing, facilities and controls; stability monitoring and testing; ongoing and
19   completed studies; scientific investigations and literature; adverse experiences and
20   changes to overall risk and health risks; sales and distribution data; policies and
21   procedures regarding age- and identity-verification; policies and procedures
22   regarding restrictions on access for individuals under the minimum age of sale;
23   consumer evaluation and research studies; creation and dissemination of labeling,
24
25   18
          Id. at 6.
26   19
          Id.
27   20
       FDA, Marketing Granted Orders for NJOY ACE Products at 1 (April 26, 2022)
28   (available at https://www.fda.gov/media/164457/download?attachment).
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 1   advertising, marketing and/or promotional materials; advertising and marketing
 2   plans; media tracking and optimization; and actual delivery of advertising
 3   impressions.
 4           81.    In addition to tobacco-flavored NJOY ACE and NJOY Daily products,
 5   Plaintiff currently distributes for sale menthol-flavored NJOY ACE and NJOY Daily
 6   products to certain locations outside of California. Plaintiff submitted PMTAs for
 7   these menthol-flavored products on March 10, 2020, and amended PMTAs on
 8   December 2, 2022. FDA has not taken action on those applications, and they remain
 9   pending. Consistent with the FDA’s current enforcement policy discussed above,
10   the agency has not taken action against Plaintiff or any retailer or distributor for
11   distributing or selling these menthol-flavored NJOY products.
12   IV.     Defendants’ FDVs and FDA Actions Concerning Those Products
13           82.    Since 2020, the number of brands of FDVs sold in the United States has
14   increased significantly. 21 Many of these products are manufactured in and imported
15   from China.22 One observer described the current market for vapor products as
16
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     21
       See, e.g., Matthew Perrone, Thousands of unauthorized vapes are pouring into the
     US despite the FDA crackdown on fruity flavors, Associated Press (June 26, 2023)
18   (available         at       https://apnews.com/article/fda-vapes-vaping-elf-bar-juul-
19   80b2680a874d89b8d651c5e909e39e8f) (“The number of different electronic
     cigarette devices sold in the U.S. has nearly tripled to over 9,000 since 2020, driven
20   almost entirely by a wave of unauthorized disposable vapes from China, according
21   to tightly controlled sales data obtained by the Associated Press.”); Lauren Clason,
     Disposable vape sales soared after FDA focused efforts elsewhere, Roll Call (Jun.
22   22, 2023) (available at https://rollcall.com/2023/06/22/disposable-vape-sales-
23   soared-after-fda-focused-efforts-elsewhere/) (“The total number of e-cigarette
     brands . . . increased from 184 to 269, or 46.2 percent” between January 2020 and
24   December 2022).
25   22
       See, e.g., Yuki Noguchi, They’re illegal. So why is it so easy to buy the disposable
26   vape favored by teens?                NPR (July 14, 2023) (available at
     https://www.npr.org/sections/health-shots/2023/07/14/1186291971/theyre-illegal-
27   so-why-is-it-so-easy-to-buy-the-disposable-vapes-favored-by-teens) (“Nearly all
28   the world’s e-cigarettes — 90% — come from factories in Shenzhen, China”).
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 1   follows: “hundreds of new varieties appear each month. Companies copy each
 2   other’s designs, blurring the line between the real and counterfeit. Entrepreneurs
 3   can launch a new product by simply sending their logo and flavor requests to Chinese
 4   manufacturers, who promise to deliver tens of thousands of devices within weeks.”23
 5              83.   Foreign manufacturers direct their products into the United States in
 6   ways that limit, if not avoid, any review, inspection, oversight, or regulatory process
 7   before the products are sold to U.S. consumers.24
 8              84.   FDA has not granted premarket approval to any non-tobacco- or non-
 9   menthol-flavored disposable product. Instead, the agency has repeatedly issued
10   warning letters making clear that it is unlawful to market distribute and sell FDVs,
11   including the specific products manufactured, marketed, distributed, and sold by
12   these Defendants.
13              85.   As of September 30, 2023, for example, FDA had issued and posted
14   over 200 warning letters stating that Elf Bar products—which have been rebranded
15   as EB, EB Create, and EB Design products—cannot be sold without a marketing
16   authorization order and had been misbranded. 25
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        Matthew Perrone, Thousands of unauthorized vapes are pouring into the US
23
     despite the FDA crackdown on fruity flavors, Associated Press (June 26, 2023)
24   (available     at      https://apnews.com/article/fda-vapes-vaping-elf-bar-juul-
     80b2680a874d89b8d651c5e909e39e8f).
25
     24
          Id.
26   25
         See FDA, Warning Letters, https://www.fda.gov/inspections-compliance-
27   enforcement-and-criminal-investigations/compliance-actions-and-
28   activities/warning-letters.
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 1           86.   In addition, FDA has issued at least two warning letters stating that Lost
 2   Mary products cannot be sold without a marketing authorization order and had been
 3   misbranded. 26
 4           87.   FDA has issued at least two warning letters stating that Hyde products
 5   cannot be sold without a marketing authorization order and had been misbranded.27
 6           88.   FDA has issued at least sixteen warning letters explaining that Esco Bar
 7   products cannot be sold without a marketing authorization order and had been
 8   misbranded, including one letter directed to Defendants Shenzhen Innokin and
 9   Pastel Cartel.28
10           89.   FDA has issued at least two warning letters stating that Breeze Smoke
11   products cannot be sold without a marketing authorization order and had been
12   misbranded, including one warning letter sent directly to Defendant Breeze
13   Smoke. 29
14
15
16   26
         See FDA, Warning Letters, https://www.fda.gov/inspections-compliance-
17   enforcement-and-criminal-investigations/compliance-actions-and-
     activities/warning-letters.
18
     27
         See FDA, Warning Letters, https://www.fda.gov/inspections-compliance-
19   enforcement-and-criminal-investigations/compliance-actions-and-
20   activities/warning-letters.
21
     28
           Warning      Letter    to    Shenzhen    Innokin    (May      23,   2023),
     https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
22   investigations/warning-letters/shenzhen-innokin-technology-co-ltd-657347-
23   05252023; see also FDA, Warning Letters, https://www.fda.gov/inspections-
     compliance-enforcement-and-criminal-investigations/compliance-actions-and-
24   activities/warning-letters.
25   29
         Warning Letter to Breeze Smoke (May 23, 2023) (available at
26   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
     investigations/warning-letters/breeze-smoke-llc-655821-05252023); see also FDA,
27   Warning Letters, https://www.fda.gov/inspections-compliance-enforcement-and-
28   criminal-investigations/compliance-actions-and-activities/warning-letters.
                                                27
                                            COMPLAINT
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 1           90.   FDA has issued at least seven warning letters stating that Lava products
 2   cannot be sold without a marketing authorization order and had been misbranded,
 3   including one warning letter sent directly to Defendant King Distribution. 30
 4           91.   FDA has issued at least three warning letters explaining that Loon
 5   products cannot be sold without a marketing authorization order and had been
 6   misbranded, including one letter sent directly to Defendant The Loon’s website. 31
 7           92.   FDA has issued at least six warning letters stating that Puff Bar
 8   products cannot be sold without a marketing authorization order and had been
 9   misbranded, including one letter sent directly to Defendants EVO Brands and
10   PGV2.32
11           93.   On August 8, 2022, FDA issued a warning letter to Mr. Fog’s website
12   stating that Mr. Fog products cannot be sold without a marketing authorization order
13   and had been misbranded.33
14
     30
        Warning Letter to King Distribution (September 14, 2023) (available at
15   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
16   investigations/warning-letters/king-distribution-llc-dba-lava-vape-usa-667203-
     09142023); see also FDA, Warning Letters, https://www.fda.gov/inspections-
17   compliance-enforcement-and-criminal-investigations/compliance-actions-and-
18   activities/warning-letters.
19
     31
        See Warning Letter to Maduro Distributors d/b/a The Loon (Aug. 20, 2021)
     (available     at    https://www.fda.gov/inspections-compliance-enforcement-and-
20   criminal-investigations/warning-letters/maduro-distributors-dba-loon-617040-
21   08202021); see also FDA, Warning Letters, https://www.fda.gov/inspections-
     compliance-enforcement-and-criminal-investigations/compliance-actions-and-
22   activities/warning-letters.
23   32
        See Warning Letter to EVO Brands, LLC and PVG2, LLC (Oct. 6, 2022)
24   (available    at    https://www.fda.gov/inspections-compliance-enforcement-and-
     criminal-investigations/warning-letters/evo-brands-llc-and-pvg2-llc-dba-puff-bar-
25   643091-10062022;           see      also       FDA,         Warning        Letters,
26   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
     investigations/compliance-actions-and-activities/warning-letters.
27   33
       See Warning Letter to Dongguan Hengtai Biotechnology, Co. Ltd d/b/a/ Mr. Fog
28   (Aug. 8, 2022) (available at https://www.fda.gov/inspections-compliance-
                                               28
                                           COMPLAINT
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 1              94.   On November 26, 2022, FDA sent a warning letter to Defendant
 2   Shenzhen Fumot stating that Fumot and RandM products cannot be sold without a
 3   marketing authorization order and had been misbranded.34
 4              95.   On July 20, 2023, FDA sent a warning letter to Defendant HQD stating
 5   that HQD products cannot be sold without a marketing authorization order and had
 6   been misbranded.35
 7              96.   Moreover, FDA has taken additional actions with respect to some of
 8   the Defendants’ products. On May 17, 2023, FDA issued an import alert specifying
 9   that Elf Bar, Esco Bar, and certain other brands of FDVs should be refused
10   admission into the United States and detained without inspection because the
11   products are unlawful. 36 FDA subsequently reiterated and updated this import alert
12   on September 17, 2023.37
13              97.   On September 28, 2023, FDA announced that it had issued complaints
14   for civil penalties against 22 retailers based on the sale of Elf Bar and EB products.38
15
16
     enforcement-and-criminal-investigations/warning-letters/dongguan-hengtai-
17   biotechnology-co-ltd-dba-mr-fog-638700-08012022).
18   34
       Warning Letter to Shenzhen Fumot Vaping Technology Co., Ltd. (Nov. 16, 2022)
19   (available    at    https://www.fda.gov/inspections-compliance-enforcement-and-
     criminal-investigations/warning-letters/shenzhen-fumot-technology-co-ltd-645183-
20   11162022).
21   35
           Warning     Letter    to   HQD      (July    20,   2020)    (available          at
22   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
     investigations/warning-letters/hqd-tech-usa-llc-608631-07202020).
23   36
       Import Alert 98-06 (Sept. 12, 2023) (available at
24   https://www.accessdata.fda.gov/cms_ia/importalert_1163.html).
     37
25        Id.
26
     38
        FDA Seeks Fines Against 22 Retailers for Selling Illegal Youth-Appealing E-
     Cigarettes, FDA News Release (Sept. 28, 2023) (available at
27   https://www.fda.gov/news-events/press-announcements/fda-seeks-fines-against-
28   22-retailers-selling-illegal-youth-appealing-e-cigarettes).
                                                29
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 1   V.         Defendants’ FDV Products Have Taken Sales and Market Share from
 2              Lawful, Tobacco-Flavored Products Like NJOY ACE and NJOY Daily
 3              98.   Since 2020, FDVs, including the Defendants’ products, have obtained
 4   a significant portion of the market share and sales of these products have increased
 5   drastically. During the same time period, the market share and sales volume for
 6   tobacco-flavored vapor products, such as the lawful products manufactured and sold
 7   by Plaintiff, have fallen significantly. So too have the market share and sales of
 8   refillable, pod-based products like NJOY Ace.
 9              99.   One study that analyzed retail scanner data from January 26, 2020 to
10   December 25, 2022, found that unit shares of tobacco-flavored products decreased
11   from 28.4% to 20.1% during this period, while unit shares for flavored products
12   (other than mint) increased from 29.2% to 41.3%. 39 The same study also found that
13   the market share for prefilled, pod-based products such as NJOY ACE decreased
14   from 75.2% to 48.0%, while the market share for disposable e-cigarettes like the
15   Defendants’ FDVs increased from 24.7% to 51 .8%.40
16              100. In addition, sales data for the 4-week period ending December 25, 2022,
17   showed that two of the top five selling e-cigarette brands were Elf Bar and Breeze—
18   FDVs that Defendants have manufactured, marketed, distributed, and sold. 41 And
19   surveillance conducted by FDA during the first half of 2023 “helped FDA to identify
20
21
22
     39
       E-cigarette Unit Sales by Product and Flavor Type, and Top-Selling Brands,
23
     United States, 2020-2022, Morbidity & Mortality Weekly Rpt. (Centers for
24   Disease Control and Prevention) (Jun. 23, 2023) (available at
     www.cdc.gov/mmwr/volumes/72/wr/mm7225a1.htm?s_cid=mm7225a1_w).
25
     This data only includes sales from brick-and-mortar retailers, and data reflecting
26   sales from online retailers and tobacco specialty stores were not included.
     40
27        Id.
     41
28        Id.
                                                 30
                                              COMPLAINT
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 1   Elf Bar and Esco Bar as being among the most popular brands in the United
 2   States.”42
 3           101. Market data also shows that FDVs have a significant share of the
 4   market in California, which again was obtained at the expense of tobacco-flavored
 5   and refillable, pod-based products. For example, sales data from California retailers
 6   for the period of February 23, 2020 to October 30, 2022 showed that sales of
 7   tobacco-flavored e-cigarettes declined by 23.5% over this time period.43 The same
 8   data showed that the unit share at California retailers for prefilled products like
 9   NJOY Ace fell from 62.7% to 54.4% during this period, while the unit share for
10   disposable products like FDVs increased from 37.1% to 45.4%. 44
11   VI.     Defendants Manufactured, Marketed, Distributed, and Sold FDVs That
12           Were Falsely and Misleadingly Marketed As Lawful Products
13           102. Defendants manufacture, market, distribute, and/or sell brands of FDV
14   products that have been and continue to be sold unlawfully in California.
15           103. Upon information and belief, the Elf Bar Defendants manufacture,
16   market distribute, and sell Elf Bar, EB, EB Create, and EB Design products, which
17   are unlawfully sold in California, or have engaged in such conduct in the past.
18
     42
        FDA Inspection Blitz Leads to More Than 180 Warning Letters to Retailers for
19   the Illegal Sale of Youth-Appealing Elf Bar and Esco Bars E-Cigarettes, FDA News
20   Release (June 22, 2023) (available at https://www.fda.gov/news-events/press-
     announcements/fda-inspection-blitz-leads-more-180-warning-letters-retailers-
21
     illegal-sale-youth-appealing-elf-bar); see also id. (noting Centers for Disease
22   Control study that “found Elf Bar was the most popular e-cigarette sold in the U.S.
     in 2022”).
23
     43
       Monitoring U.S. E-Cigarette Sales: State Trends at Figure 1, CDC Foundation
24   (Oct. 2022) (available at https://www.cdcfoundation.org/State-E-CigaretteSales-
25   DataBrief-2022-Octo30?inline). This sales data did not include sales from vape
     shops or online retailers. Id.
26   44
       Monitoring U.S. E-Cigarette Sales: State Trends at Figure 2, CDC Foundation
27   (Oct. 2022) (available at https://www.cdcfoundation.org/State-E-CigaretteSales-
28   DataBrief-2022-Octo30?inline).
                                              31
                                          COMPLAINT
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 1           104. The Elf Bar website, www.elfbar.com, until very recently provided
 2   information about Elf Bar FDVs.45 The website included statements that induced
 3   consumers to believe that Elf Bar products could be legally sold under California
 4   and federal law.
 5           105. The Elf Bar website stated, in response to a “frequently asked
 6   question,” that “[t]here is no diacetyl in our products, and all our products are
 7   certified safe for use.”46 This statement conveyed to consumers that Elf Bar products
 8   have met applicable standards for safety, including those incorporated into the
 9   federal process for premarket approval.
10           106. The Elf Bar website also included the Elf Bar “mission statement,”
11   which explained that the Elf Bar Defendants “aim” to “uphold the highest standards
12   of legality, economics, and ethics.”47 And, when discussing the “Lighthouses
13   Guardian Program,” the Elf Bar website stated that the Elf Bar Defendants “support
14   strong laws and regulations that forbid minors from buying and using our products”
15   and “ELFBAR products will be closely regulated to prevent misuse.”48 These
16   statements misrepresented to consumers that Elf Bar products are marketed and sold
17   in compliance with state and federal law.
18
19
     45
        The Elf Bar website was publicly accessible until at least September 19, 2023.
20
     Shortly thereafter, the Elf Bar Defendants appear to have taken the website offline.
21   The website as it existed on September 19, 2023 is available via the Internet Archive
22   links referenced below.
     46
       Elf Bar archived website available at
23
     (https://web.archive.org/web/20230919183102/https://www.elfbar.com/support.ht
24   ml).
25
     47
       Elf Bar archived website (available at
     https://web.archive.org/web/20230802001637/https://www.elfbar.com/esg.html).
26   48
       Elf Bar archived website (available at
27   https://web.archive.org/web/20230919183957/https://www.elfbar.com/minor-
28   protection.html).
                                               32
                                          COMPLAINT
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 1            107. Elf Bar product packaging includes the statement: “Sale only allowed
 2   in the United States.” This statement is false on its face because sales of Elf Bar
 3   products are not allowed in the United States. Additionally, in combination with
 4   other items on the product packaging, including FDA-mandated and California-
 5   mandated warning statements, the product packaging conveys to consumers that the
 6   products may be sold legally in the United States and specifically in California.
 7            108. Upon information and belief, the Elf Bar Defendants rebranded Elf Bar
 8   products and currently manufacture, market, distribute, and sell EB, EB Create, and
 9   EB Design products that are unlawfully sold in California. The website for these
10   products, https://ebdesigndisposablevape.com/, provides information about EB and
11   EB Design products and induces consumers to believe that these products may be
12   legally sold under California and federal law.
13            109. Upon information and belief, Shenzhen Han manufactures, markets,
14   distributes, and sells Lost Mary FDVs that are sold in California. The “Lost Mary
15   Vape Official Site” provides information online about Lost Mary products and
16   induces consumers to believe that these products may be legally sold under
17   California and federal law. The website, for example, claims that Lost Mary
18   products “adhere to the highest industry standards and regulations” and are “safe,
19   reliable, and of the utmost quality.”49
20            110. Upon information and belief, Shikai Technology and Breeze Smoke
21   manufacture, market, distribute, and sell Breeze FDVs that are unlawfully sold in
22   California.
23            111. The Breeze Smoke website, www.breezesmoke.com, provides
24   information about Breeze FDVs. The website includes statements that induce
25   consumers to believe that these products may be legally sold under California and
26   federal law.
27
28
     49
          https://lostmaryofficialsite.com/about/.
                                                 33
                                             COMPLAINT
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 1              112. The Breeze website states that “[w]e support and comply with all
 2   federal and state regulations to prevent sales to minors.”50 The website further states
 3   that “[w]e support the FDA’s commitment to leverage its authority and resources to
 4   take additional steps to address these new, emerging issues associated with underage
 5   use. We are committed to being part of the solution and understand that the most
 6   important way we can make sure kids don’t use any tobacco products is to limit
 7   access and appeal.”51 These statements misrepresent to consumers that Breeze
 8   products are marketed, distributed, and sold in compliance with state and federal
 9   law.
10              113. Breeze product packaging includes the statement: “Sale only allowed
11   in the United States.” This statement is false on its face because sales of Breeze
12   products are not allowed in the United States. Additionally, in combination with
13   other items on the product packaging, including FDA-mandated and California-
14   mandated warning statements, the product packaging conveys to consumers that the
15   products may be sold legally in the United States and in California specifically.
16              114. Upon information and belief, the Hyde Defendants manufacture,
17   market, distribute, and sell Hyde FDVs that are unlawfully sold in California.
18              115. Hyde’s website falsely suggests that these products can be lawfully sold
19   in California and the United States. For example, rather than disclosing that FDA
20   has sent warning letters stating that Hyde products had been misbranded and could
21   not be marketed, distributed, or sold, the Hyde website claims that these products
22   have “become very popular nationwide due to the incredible selection of flavors
23   available in its vast array of disposable devices.” 52
24
25
26   50
          https://www.breezesmoke.com/minors-use-prevention.
     51
27        Id.
28
     52
          https://hydevape.us.com/.
                                                  34
                                              COMPLAINT
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 1            116. Upon information and belief, Defendants Shenzhen Innokin, Funyin
 2   Electronic, Pingray, Pastel Cartel, AVC, and Affiliated Imports manufacture,
 3   market, distribute, and sell Esco Bar brand FDVs that are unlawfully sold in
 4   California.
 5            117. The Esco Bar website, www.escobars.com, operated by Pastel Cartel,
 6   provides information about Esco Bar products and makes those products available
 7   for sale. The website includes statements that induce consumers to believe that Esco
 8   Bar products may be legally sold under California and federal law.
 9            118. As of September 25, 2023, a wide range of Esco Bar FDVs was
10   available for purchase on www.escobars.com, including for example Esco Bars
11   Mesh 5% 2500 Puff - Cotton Candy, Esco Bars 5% 6000 Puff – Bubbleberry and
12   Esco Bars 5% 6000 Puff - Sour Candy Apple, suggesting to consumers that the
13   products may be legally sold and are in compliance with FDA regulations and federal
14   law.
15            119. In addition, the Esco Bar website includes an “FDA Disclaimer” that
16   says “[t]he statements made regarding these products have not been evaluated by the
17   Food and Drug Administration. The efficacy of these products has not been
18   confirmed by FDA-approved research. These products are not intended to diagnose,
19   treat, cure, or prevent any disease.          All information presented here is for
20   informational and educational purposes only and is not meant as a substitute for or
21   alternative to information from health care practitioners. You should not combine
22   the use of products from our site with any other medications, drugs, or alcohol.
23   Please consult your health care professional about potential drug interactions or
24   other possible complications before using any product. The Federal Food, Drug and
25   Cosmetic Act requires this notice.”53
26
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28
     53
          https://escobars.com/terms-conditions.
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                                             COMPLAINT
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 1            120. The Esco Bar website states further that “Esco Bars is committed to
 2   youth prevention, implementing a secured, industry-leading age verification system
 3   powered by AgeChecker.net to verify every order placed on our website. Our team
 4   continually work hard to strengthen the age verification process and improve our
 5   checkout procedure to restrict underage purchases.” 54 It also states that “[a]ll of our
 6   products are sourced responsibly, independently tested for purity and potency, and
 7   are used personally by members of our staff.” 55
 8            121. These statements misrepresent to consumers that Esco Bar products are
 9   marketed and sold in compliance with state and federal law.
10            122. Esco Bar product packaging includes the statement: “Sale only allowed
11   in the United States.” This statement is false on its face because sales of Esco Bar
12   products are not allowed in the United States. Additionally, in combination with
13   other items on the product packaging, including FDA-mandated and California-
14   mandated warning statements, the product packaging conveys to consumers that the
15   products may be sold legally in the United States and in California specifically.
16            123. Upon     information      and    belief,   Defendant   King   Distribution
17   manufactures, markets, distributes, and sells Lava FDV products that are unlawfully
18   sold in California.
19            124. The Lava website, www.lavapods.com, provides information about
20   Lava FDVs and makes the products available for sale. The website includes
21   statements that induce consumers to believe that Lava products may be legally sold
22   under California and federal law.
23            125. The Lava website states that “[t]he U.S. Food and Drug
24   Administration’s (FDA) recent guidance that restricts flavored cartridges provides
25   an opportunity for flavors to return to the market once cleared by the FDA
26
27
     54
          https://escobars.com/age-policy.
28
     55
          https://escobars.com/about-us/.
                                                   36
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 1   application process. Applications are due to FDA by May 12, 2020. Lava is working
 2   on submitting its application for Lava Pre-filled Pods and is well positioned to
 3   complete applications for its entire portfolio by the May deadline. Once review is
 4   completed, FDA will then determine if the flavors are able to return to market.”56
 5   As of September 25, 2023, the “entire portfolio” of Lava products was available for
 6   purchase on www.lavapods.com, suggesting to consumers that King Distribution
 7   has completed the referenced FDA application process and its FDV products can be
 8   legally sold.
 9              126. The Lava website also states that “[w]e are adjusting our business in
10   light of recent federal and state restrictions on flavored vaping products.”57 As of
11   September 25, 2023, the portfolio of Lava products available for purchase on
12   www.lavapods.com included a wide range of FDVs in various flavors, suggesting to
13   consumers that the products could be legally sold and that King Distribution has
14   completed the referenced “business adjustments” necessary to comply with “recent
15   federal and state restrictions.”
16              127. These statements misrepresent to consumers that Lava products are
17   marketed and sold in compliance with state and federal law.
18              128. Upon information and belief, Defendant HQD manufactures, markets,
19   distributes, and sells HQD products that are unlawfully sold in California.
20              129. The HQD website, www.hqdtechusa.com, provides information about
21   HQD brand FDVs and makes the products available for sale. The website includes
22   statements that induce consumers to believe that HQD products may be legally sold
23   under California and federal law.
24              130. The HQD website states that “HQD understands the importance of
25   compliance with the PACT Act and other laws and regulations governing the sale of
26
27
     56
          https://lavapods.com/flavor-restrictions.
     57
28        Id.
                                                 37
                                             COMPLAINT
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 1   tobacco and electronic cigarettes. We are committed to providing our customers
 2   with high-quality products while adhering to all applicable laws and regulations.”58
 3   This statement, alone and in combination with other statements on the website,
 4   falsely and misleadingly suggests to consumers that HQD products are sold in
 5   compliance with federal and state law.
 6              131. The HQD website states that “HQD TECH USA is aligned with the
 7   FDA’s efforts to protect America’s adolescents and believes it to be an essential
 8   industry priority. It is for this reason HQD TECH USA takes youth prevention very
 9   seriously and has put into action several preventative measures including an age
10   verification technology service to review all submitted information for purchases on
11   the HQD TECH USA website in order to restrict anyone under 21 years of age from
12   attempting to complete a transaction that would end in obtaining HQD TECH USA
13   products.”59
14              132. The HQD website also states that “HQD TECH USA actively follows
15   all FDA compliance regulations in regard to packaging and labeling.”60 As of
16   September        25,   2023,   the   HQD   products   available   for   purchase   on
17   www.hqdtechusa.com included a wide range of FDVs in various flavors, suggesting
18   to consumers that HQD products can be sold without violating FDA policy and
19   federal law.
20              133. Upon information and belief, Defendant The Loon manufactures,
21   markets, distributes, and sells Loon Maxx, Loon Air+, Pluto Bars, Juicebox, King
22   Pluto Enzo, and King Pluto Due brand products that are unlawfully sold in
23   California.
24
25
26   58
          https://hqdtechusa.com.
27
     59
          https://hqdtechusa.com/pages/youth-prevention.
     60
28        Id.
                                                38
                                            COMPLAINT
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 1              134. The Loon’s website provides information about The Loon’s FDVs and
 2   makes the products available for sale.61 The website includes statements that induce
 3   consumers to believe that these products may be legally sold under California and
 4   federal law.
 5              135. The Loon’s website states that “[t]he brand was founded in 2013 and
 6   has continued to serve as a pioneer and thought leader in the vaping category. The
 7   Loon is the finest independent vaping company in the U.S. and is a leader in the
 8   revolution against combustible cigarettes.” 62 On August 8, 2021, FDA sent a
 9   warning letter to The Loon to inform the company that e-cigarettes, including
10   products on the Loon’s website, could not be lawfully sold without first receiving
11   premarket authorization as required by the Tobacco Control Act.
12              136. The Loon’s website continues to market and sell FDVs that are not
13   authorized and makes no mention that these products were the subject of an FDA
14   warning letter.      Instead, The Loon’s website suggests that there are no legal
15   impediments to the sale or purchase of The Loon’s products, telling consumers that
16   The Loon seeks to “satisfy the nation’s vaping needs” and “offers a range of
17   electronic nicotine products for adult smokers and vapers.” 63
18              137. These statements misrepresent to consumers that The Loon’s products
19   are marketed and sold in compliance with state and federal law.
20              138. Upon information and belief, Defendant BFL Metal Production
21   manufactures, markets, distributes, and sells Fume and LD brand FDV products that
22   are unlawfully sold in California.
23
24
25
26   61
          https://loonvapes.com/.
     62
27        Id.
     63
28        Id.
                                                39
                                            COMPLAINT
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 1              139. BFL Metal Production’s website provides information about the
 2   company’s FDVs and makes the products available for sale.64 The website includes
 3   statements that induce consumers to believe that Fume and LD products may be
 4   legally sold under California and federal law.
 5              140. BFL Metal Production’s website says that the company is “one of the
 6   biggest manufacturer[s] of E-Cigs in the world,” “one of the first manufacturers of
 7   electronic cigarettes in the world,” and “a world leader in the design, manufacturing,
 8   and branding of electronic cigarettes.” 65 The website states further that Fume and
 9   LD products have been highly successful because of the company’s “extensive
10   market research and development before a product ever sees the market.” 66 The
11   company also states that its products are “[n]ot for sale to minors” and claims to be
12   “committed to preventing illegal sales to minors.”67 BFL Metal Production’s
13   website, however, does not explain that Fume and LD FDVs have not been
14   authorized by FDA and cannot be lawfully sold in California.68
15              141. Fume product packaging includes the statement: “Sale only allowed in
16   the USA.” This statement is false on its face because sales of Fume products are not
17   allowed in the United States. Additionally, in combination with other items on the
18   product packaging, including FDA-mandated and California-mandated warning
19   statements, the product packaging conveys to consumers that the products may be
20   sold legally in the United States and in California specifically.
21
22
23
24   64
          https://www.fumevapors.com/about-us/.
25   65
          Id.
     66
26        Id.
     67
27        Id.
     68
28        See id.
                                                40
                                            COMPLAINT
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 1              142. Upon information and belief, Defendant Dongguan Hengtai d/b/a Mr.
 2   Fog manufactures, markets, distributes, and sells Mr. Fog FDVs that are unlawfully
 3   sold in California.
 4              143. Mr. Fog’s website provides information about Mr. Fog’s FDVs and
 5   makes the products available for sale.69 The website includes statements that induce
 6   consumers to believe that Mr. Fog products may be legally sold under California and
 7   federal law.
 8              144. Mr. Fog’s website states generally that the company “compl[ies] with
 9   policies.”       According to the website, when “[f]aced with different policy
10   requirements in different markets, MR FOG is not afraid of high requirements such
11   as funds and quality, and submits a series of products to better standardize products
12   and achieve compliant supply.”70 In addition, although the website states that Mr.
13   Fog “e-liquid products have not been evaluated by the Food and Drug
14   Administration,” it does not disclose that the products are unlawful under California
15   law and the subject of FDA enforcement actions.71 Instead, it says that these
16   products “are intended for use by adults of legal smoking age.”72
17              145. As of September 25, 2023, the Mr. Fog products available for purchase
18   on the Mr. Fog website included a wide range of FDVs in various flavors, suggesting
19   to consumers that the products are sold in a way that complies with FDA policy and
20   federal law. 73
21
22
23
24   69
          https://www.mrfog.com/switch-disposable/?f=nav.
25   70
          https://www.mrfog.com/about-us/.
     71
26        Id.
     72
27        Id.
28
     73
          https://www.mrfog.com/switch-disposable/?f=nav.
                                                41
                                             COMPLAINT
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 1           146. Upon information and belief, Defendants Flumgio and Shenzhen PD
 2   manufacture, market, distribute, and sell Flum brand FDVs, including Flum Float,
 3   Flum Gio, and Flum Pebble, which are unlawfully sold in California.
 4           147. The Flum website provides information about Flum FDVs and
 5   communicates that the products available for sale. 74 The website includes statements
 6   that induce consumers to believe that Flum products may be legally sold under
 7   California and federal law.
 8           148. The Flum website displays an FDA-mandated nicotine warning and
 9   states that the products use “food graded materials.”75 The website also states that
10   Flum products are “[n]ot for sale to minors” and includes a California Proposition
11   65 Warning.76 The website, however, does not explain that Flum FDVs have not
12   been authorized by FDA and cannot be lawfully sold in California.
13           149. Flum packaging includes the statement: “Sale only allowed in the
14   USA.” This statement is false on its face because sales of Flum products are not
15   allowed in the United States. Additionally, in combination with other items on the
16   product packaging, including FDA-mandated and California-mandated warning
17   statements, the product packaging conveys to consumers that the products may be
18   sold legally in the United States and in California specifically.
19           150. Upon information and belief, Defendants Shenzhen Daosen, EVO
20   Brands, and PVG2 manufacture, market, distribute, and sell Puff Bar products,
21   which are unlawfully sold in California, or have engaged in such conduct in the past.
22           151. The Puff Bar website, which Defendant PVG2 appears to operate,
23   misleadingly suggests that these products may be lawfully sold, claiming that “Puff
24   Bar provides adults with premium products to elevate life’s greatest moments” and
25
26   74
          https://www.flumgio.com/.
27
     75
          https://www.flumgio.com/pebble/.
28
     76
          https://www.flumgio.com/disclaimer/.
                                                 42
                                             COMPLAINT
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 1   that, “[f]or us, offering consumers the best choice on the market isn’t just a
 2   mission—it’s a requirement.”77
 3              152. Upon    information    and    belief,   Defendant   Shenzhen    Fumot
 4   manufactures, markets, distributes, and sells Fumot and RandM brand FDVs, which
 5   are unlawfully sold in California.
 6              153. Defendant Shenzhen Fumot markets, distributes, and sells FDVs on its
 7   website, www.randm-shop.online. This website includes statements that induce
 8   consumers to believe that Flum products may be legally sold under California and
 9   federal law. Shenzen Fumot claims, for example, that the company’s “vapes have
10   become the mainstream of the Vaporizer market” and “can be shipped to the United
11   States.”78
12              154. Defendants Flawless Vape Shop and Flawless Vape Wholesale &
13   Distribution market, distribute, and sell numerous brands of FDVs to consumers in
14   California       and    across   the   country,     including   from    the    website
15   www.flawlessvapeshop.com. Defendants Flawless Vape Shop and Flawless Vape
16   Wholesale & Distribution make statements on this website that induce consumers to
17   believe that FDVs can be legally sold under California and federal law.
18              155. The Flawless Vape Shop website states that “[w]e aim to deliver only
19   the highest quality products.”79 The website explains further that the FDVs “sold on
20   this site [are] intended for adult smokers.” 80 The website also displays a map that
21   shows that Flawless Vape Shop and Flawless Vape Wholesale & Distribution will
22   sell and ship products to almost every state, including California, and includes a
23
24
25   77
          https://puffbar.com/.
26   78
          https://www.randm-shop.online/pages/about-randmvape.
27
     79
          https://www.flawlessvapeshop.com/.
     80
28        Id.
                                                  43
                                            COMPLAINT
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 1   California Proposition 65 Warning.81 The website, however, does not explain that
 2   the FDVs it sells have not been authorized by FDA and cannot be lawfully sold in
 3   California.
 4              156. Defendant Price Point markets, distributes, and sells numerous brands
 5   of FDVs to consumers in California and across the country, including from the
 6   website www.pricepointny.com. Defendant Price Point makes statements on this
 7   website that induce consumers to believe FDVs can be legally sold under California
 8   and federal law.
 9              157. Defendant Price Point’s website states that “[w]e understand the
10   concern of buying tobacco products on the internet” and therefore “tak[e] the
11   necessary        steps   to   keep   our     devices   out   of   the   wrong   hands.”
12   https://www.pricepointny.com/pages/service-desk. In addition, the website states
13   that FDVs “are intended for use by persons 18 or older” and includes a
14   California Proposition 65 Warning. 82 But it does not explain that the FDVs it sells
15   have not been authorized by FDA and cannot be lawfully sold in California.
16              158. Defendant Mi-One markets, distributes, and sells numerous brands of
17   FDVs to consumers in California and across the country, including from the website
18   https://www.mipod.com. Defendant Mi-One makes statements on its website that
19   induce consumers to believe FDVs can be legally sold under California and federal
20   law.
21              159. Defendant Mi-One describes itself as “a master distributor for the top
22   brands in the vaping industry like Lost Mary and EBCreate”83 and claims to “put the
23   customer first and commit to excellence in everything we do.” 84 The Mi-One
24
25   81
          Id.
     82
26        Id.
27
     83
          https://mipod.com/collections/disposable-vape.
28
     84
          https://mipod.com/pages/our-values.
                                                   44
                                                COMPLAINT
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 1   website states further that FDVs “are an increasingly popular way to vape” and
 2   explains that the website “carries the best names in the industry.”85 The website
 3   includes an “FDA Disclaimer” that states, among other things, that “[t]he efficacy
 4   of these products and the testimonials made have not been confirmed by FDA-
 5   approved research.” 86 It also offers “[f]ree shipping valid for most of the 48
 6   continuous U.S. States.” 87 The website, however, does not explain that the FDVs it
 7   sells have not been authorized by FDA and cannot be lawfully sold in California.
 8            160. Defendant Element Vape markets, distributes, and sells numerous
 9   brands of FDVs to consumers in California and across the country, including from
10   the website www.elementvape.com. Defendant Element Vape makes statements on
11   its website that induce consumers to believe FDVs can be legally sold under
12   California and federal law.
13            161. Defendant Element Vape’s website states that FDVs “sold on this site
14   [are] intended for adult smokers.” 88 The website states further that the company
15   will ship FDVs to customers throughout the United States, including to California.89
16   The website also includes an FDA disclaimer, which provides that “statements made
17   regarding these products have not been evaluated by the Food and Drug
18   Administration,” and a California Proposition 65 Warning. 90 But the website does
19   not explain that the FDVs it sells have not been authorized by FDA and cannot be
20   lawfully sold in California.
21
22
23   85
          https://mipod.com/collections/disposable-vape.
24   86
          https://mipod.com/pages/fda-disclaimer.
25   87
          https://mipod.com/policies/shipping-policy.
26   88
          https://www.elementvape.com/.
27
     89
          https://www.elementvape.com/shipping-and-handling.
28
     90
          https://www.elementvape.com/.
                                               45
                                            COMPLAINT
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 1            162. Defendant Vape Sourcing markets, distributes, and sells numerous
 2   brands of FDVs to consumers in California and across the country, including from
 3   the website www.vapesourcing.com. Defendant Vape Sourcing makes statements
 4   on its website that induce consumers to believe FDVs can be legally sold under
 5   California and federal law.
 6            163. Defendant Vape Sourcing’s website states that the company “is a
 7   professional vape shop online aimed at USA market. We devote to provide valued
 8   customers with high-quality and various e-cigarettes at best price from the regular
 9   source. Vapesourcing has [an] experienced and professional team who rigorously
10   screens, tests and sources from all major e-cigarette brands on a daily basis to
11   provide vapors around the world with good products that we really know.”91 The
12   website states further that FDVs “sold on this website are intended for adult
13   smokers” are includes a California Proposition 65 Warning.92 But the website does
14   not explain that the FDVs it sells have not been authorized by FDA and cannot be
15   lawfully sold in California.
16   VII. The PACT Act Imposes Additional Requirements on Delivery Sales of
17            FDVs
18            164. The federal Prevent All Cigarette Trafficking Act, 15 U.S.C. § 375 et
19   seq. (“PACT Act”), regulates the delivery sale of FDVs into all states, including
20   California. Id. § 375(2) (including “electronic nicotine delivery systems,” or FDVs,
21   in the definition of “cigarette”). A delivery sale is any sale for which “the seller is
22   otherwise not in the physical presence of the buyer when the request for purchase or
23   order is made.” Id. § 375(5).
24            165. The PACT Act requires that all delivery sellers verify each customer’s
25   age by obtaining their full name, date of birth, and residential address using certain
26
27
     91
          https://vapesourcing.com/about-us.
28
     92
          https://vapesourcing.com/disposable-pod.html.
                                               46
                                           COMPLAINT
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 1   commercially available databases. Id. § 376a(b)(4). Upon information and belief,
 2   Defendants have engaged and continue to engage in business with distributors and
 3   retailers that they knew, or should have known, make delivery sales of FDVs into
 4   California without satisfying these age-verification requirements, or make such sales
 5   themselves without satisfying these age-verification requirements.
 6         166. The PACT Act requires that a person selling, transferring, shipping for
 7   profit, advertising, or offering FDVs for sale into a state that taxes the sale of those
 8   products (a) register with the U.S. Attorney General and the tobacco tax
 9   administrator of the state; and (b) on the tenth day of each month, file with the state
10   tobacco tax administrator a memorandum or copy of the invoice covering the
11   previous month’s shipment of FDVs. See id. § 376(a)(1)-(2). Upon information and
12   belief, Defendants engaged and continue to engage in business with distributors and
13   retailers that they knew, or should have known, make delivery sales of FDVs into
14   California without satisfying these registration and filing requirements, and
15   Defendants themselves distribute such products without satisfying these registration
16   and filing requirements.
17         167. The PACT Act requires that all delivery sellers create and maintain
18   detailed records of each delivery sale until the end of the fourth full calendar year
19   beginning after the date of that delivery sale, and to make the records available to
20   the federal government, state and local tobacco tax administrators, and the state
21   attorneys general. Id. § 376a(c)(3). Upon information and belief, Defendants
22   engaged and continue to engage in business with distributors and retailers that they
23   knew, or should have known, make delivery sales of FDVs into California without
24   satisfying these recordkeeping requirements, or make such sales themselves without
25   satisfying these recordkeeping requirements.
26         168. The PACT Act requires that all delivery sellers pay all state and local
27   excise taxes on tobacco products, including FDVs, before shipping those products
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                                               47
                                           COMPLAINT
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 1   and affix and apply tax stamps and other indicia indicating the payment of excise
 2   taxes. Id. § 376a(d). Upon information and belief, Defendants engaged and continue
 3   to engage in business with distributors and retailers that they knew, or should have
 4   known, make delivery sales of FDVs into California without satisfying these tax-
 5   collection requirements, and Defendants who directly sell FDVs make such sales
 6   without satisfying these tax-collection requirements.
 7         169. The PACT Act requires that all bills of lading and shipping packages
 8   continuing FDVs be clearly marked with the following statement:
 9         CIGARETTES/NICOTINE/SMOKELESS TOBACCO: FEDERAL LAW
           REQUIRES THE PAYMENT OF ALL APPLICABLE EXCISE TAXES
10
           AND COMPLIANCE WITH APPLICABLE STATE AND LOCAL
11         LICENSING AND TAX-STAMP OBLIGATIONS.
12
     Id. § 376a(b). Upon information and belief, Defendants engaged and continue to
13
     engage in business with distributors and retailers that they knew, or should have
14
     known, make delivery sales of FDVs into California without satisfying these
15
     labeling requirements, and Defendants who directly sell FDVs make such sales
16
     without satisfying these labeling requirements.
17
           170. The PACT Act requires that all delivery sales comply with all
18
     applicable state and local laws as if the delivery sale occurred entirely within the
19
     specific state or place. Id. § 376a(a). Upon information and belief, Defendants
20
     engaged and continue to engage in business with distributors and retailers that they
21
     knew, or should have known, make sales in violation of California law, including by
22
     failing to collect and remit applicable state taxes on sales of FDVs and by failing to
23
     submit monthly reports and invoices to the California Department of Revenue.
24
           171. Defendants have made, and continue to make, delivery sales of FDVs
25
     that violate each of these PACT Act requirements. In addition, Defendants engaged
26
     and continue to engage in business with distributors and retailers that they knew, or
27
     should have known, violate each of these PACT Act requirements.
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                                              48
                                          COMPLAINT
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 1                             FIRST CLAIM FOR RELIEF
 2                 Violation of the California Unfair Competition Law
 3                       (Cal. Bus. & Prof. Code § 17200, et seq.)
 4         172. Plaintiff specifically realleges and incorporates herein by reference
 5      each and every allegation contained in Paragraphs 1 through 171.
 6         173. This claim is for unfair competition under the California Unfair
 7   Competition Law, Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”).
 8         174. Plaintiff brings this claim against each of the Defendants identified
 9   above.
10         175. The UCL prohibits “unfair competition,” which is broadly defined to
11   include “any unlawful, unfair or fraudulent business act or practice.” Cal. Bus. &
12   Prof. Code § 17200.
13         176. Defendants have engaged in acts and practices that are unlawful, unfair,
14   and fraudulent.
15         177. Defendants’ conduct when manufacturing, distributing, marketing, and
16   selling FDVs is unlawful conduct violating the UCL. This conduct is unlawful in
17   several respects, including the following:
18         (a)    Defendants’ conduct when distributing and selling FDVs in California
19                is contrary to California’s flavor ban. Cal. Health & Safety Code §
20                104559.5.
21         (b)    Defendants’ conduct with respect to FDVs violated and continues to
22                violate California’s Consumer Legal Remedies Act, which makes it
23                unlawful to “[m]isrepresent[] the source, sponsorship, approval, or
24                certification of goods” or to “[r]epresent[] that goods . . . have
25                sponsorship, approval, characteristics, ingredients, uses, benefits, or
26                quantities that they do not have.” Cal. Civ. Code § 1770(2), (5).
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                                              49
                                          COMPLAINT
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 1         (c)    Defendants violated and continues to violate the federal PACT Act by
 2                (1) failing to comply with California laws generally applicable to sales
 3                of cigarettes, including e-cigarettes, (ii) failing to comply with shipping
 4                package and other labeling requirements, (iii) failing to comply with
 5                age verification requirements, and/or (iv) failing to register with the
 6                Attorney General of the United States and with the State and to file
 7                monthly reports. See 15 U.S.C. § 376a(a).
 8         178. Defendants’ conduct when manufacturing, distributing, marketing, and
 9   selling FDVs is unfair conduct that violates the UCL and threatens competition.
10   Defendants’ conduct has undermined and continues to undermine the state’s policy
11   against the sale of products other than those that are tobacco-flavored. It is also
12   contrary to FDA regulatory requirements and the agency’s many warning letters and
13   actions making clear that Defendants’ products are misbranded and cannot be sold
14   or distributed.
15         179. Defendants’ conduct allows and encourages consumers to purchase
16   products that law-abiding manufacturers cannot sell while diverting them away from
17   lawful products that satisfy regulatory requirements. Defendants’ conduct thereby
18   creates an unfair marketplace. Companies that abide by state law, seek and obtain
19   premarket approval, and abide by significant restrictions are forced to compete with
20   companies that openly eschew state law and regulatory requirements and flout the
21   FDA’s clear direction not to market, distribute, or sell their specific products.
22         180. Defendants’ conduct when manufacturing, distributing, marketing, and
23   selling FDVs has been and continues to be fraudulent conduct that violates the UCL.
24   Defendants made express and implied statements on their websites, on packaging,
25   and in advertisements stating and suggesting that their FDV products were lawful
26   products. These express and implied statements were fraudulent and misleading
27   because none of the Defendants’ FDV products can be lawfully sold in California
28
                                               50
                                           COMPLAINT
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 1   specifically and because FDA has made expressly clear through warning letters and
 2   other actions that these products have been misbranded and should not be marketed,
 3   sold, or distributed in the United States. Defendants fail to disclose this material
 4   information when marketing, distributing, and selling FDVs.
 5          181. Defendants’ unfair competition actually and proximately caused
 6   Plaintiff to lose money or property. Cal. Bus. & Prof. Code § 17204. Plaintiff’s
 7   claims are not based on purchases or vapor use by underage consumers. Plaintiff’s
 8   claims are based on adult consumers, the adult market for e-cigarettes, and the
 9   Defendants’ impact on that market. Defendants’ unlawful, unfair, and fraudulent
10   conduct placed NJOY at a competitive disadvantage because it induced lawful, adult
11   consumers to buy illegal and fraudulently marketed FDVs, rather than legal products
12   such as those marketed by NJOY.
13          182. As a direct and proximate result of the Defendants’ acts of unfair
14   competition, Defendants have wrongfully taken sales and profits from Plaintiff and
15   deprived Plaintiff of the benefit of its substantial investment of time, effort, and
16   resources in, among other things, developing and marketing NJOY products.
17   Defendants should be ordered to provide restitution to Plaintiff as a consequence of
18   their unlawful, unfair, and fraudulent activities. Defendants should further be
19   ordered to disgorge all profits from the above conduct.
20          183. The unlawful, unfair, and fraudulent business acts and practices of
21   Defendants continue to harm Plaintiff because Defendants are currently engaging in
22   these acts and practices, which are likely to continue unless and until this Court
23   provides relief. Accordingly, Plaintiff seeks an order enjoining Defendants from
24   engaging in the acts and practices alleged above. In addition, Plaintiff seeks
25   recovery of attorney’s fees, costs and expenses incurred in the filing and prosecution
26   of this action.
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                                              51
                                          COMPLAINT
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 1                           SECOND CLAIM FOR RELIEF
 2                   Violation of the California False Advertising Law
 3                        (Cal. Bus. & Prof. Code § 17500, et seq.)
 4         184. Plaintiff specifically realleges and incorporates herein by reference
 5   each and every allegation contained in Paragraphs 1 through 171.
 6         185. This claim is for false and misleading advertising under the California
 7   False Advertising Law, Cal. Bus. & Prof. Code § 17500, et seq. (“FAL”).
 8         186. Plaintiff brings this claim against each of the Defendants identified
 9   above.
10         187. Defendants disseminated advertising before the public and consumers
11   in California that: (a) contains one or more statements that are deceptive, untrue, and
12   misleading; (b) Defendants knew, or in the exercise of reasonable care should have
13   known, are deceptive, untrue, and misleading; (c) concern the sale of a product; and
14   (d) are likely to mislead or deceive a reasonable consumer.
15         188. Defendants made express and implied statements on their websites, on
16   packaging, and in advertisements that their FDV products were lawful products.
17   These express and implied statements were fraudulent and misleading because none
18   of the Defendants’ FDV products can be lawfully sold in California and because
19   FDA has made expressly clear through warning letters and other actions that they
20   should not be sold in the United States. Defendants failed to disclose this material
21   information when distributing, marketing, and selling FDVs.
22         189. As a direct and proximate result of the Defendants’ deceptive, false,
23   and misleading advertising, Defendants have wrongfully taken Plaintiff’s profits and
24   deprived Plaintiff of the benefit of its substantial investment of time, effort, and
25   resources in, among other things, developing and marketing NJOY products.
26   Defendants should be ordered to provide restitution to Plaintiff as a consequence of
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                                               52
                                           COMPLAINT
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 1   Defendant’s unlawful, unfair, and fraudulent activities. Defendants should further
 2   be ordered to disgorge all profits from the above conduct.
 3         190. Defendants are currently engaged in false and misleading advertising,
 4   which is likely to continue unless and until this Court provides relief. Accordingly,
 5   Plaintiff seeks an order enjoining defendants from engaging in such conduct. In
 6   addition, Plaintiff seeks recovery of attorney’s fees, costs and expenses incurred in
 7   the filing and prosecution of this action.
 8                             THIRD CLAIM FOR RELIEF
 9            False Advertising in Violation of Section 43(a) of the Lanham Act
10                                  (15 U.S.C. § 1125(a))
11         191. Plaintiff specifically realleges and incorporates herein by reference
12   each and every allegation contained in Paragraphs 1 through 171.
13         192. This cause of action is for false advertising under the federal Lanham
14   Act, 15 U.S.C. § 1125(a).
15         193. Plaintiff brings this claim against each of the Defendants identified
16   above.
17         194. Defendants have made false and misleading statements in commercial
18   communications and advertisements concerning their FDV products in violation of
19   the Lanham Act.
20         195. Defendants’ statements were literally false and/or likely to deceive a
21   substantial portion of the relevant purchasing public as to the nature, characteristics,
22   and qualities of the Defendants’ products and commercial activities. The relevant
23   purchasing public is comprised of consumers who are old enough to lawfully
24   purchase e-cigarettes and vapor products.
25         196. Defendants made express and implied statements on their websites, on
26   packaging, and in advertisements that their FDV products were lawful products.
27   These express and implied statements were fraudulent and misleading because none
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                                                  53
                                           COMPLAINT
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 1   of the Defendants’ FDV products can be sold in California and because FDA has
 2   made it expressly clear through warning letters and other actions that these specific
 3   products cannot be sold in the United States. Defendants failed to disclose this
 4   material information when manufacturing, distributing, marketing, and selling
 5   FDVs.
 6         197. Defendants’ conduct has a tendency to deceive, and actually has
 7   deceived, a material segment of the persons to whom Defendants directed their
 8   marketing activities. Defendants’ false and misleading statements are material in
 9   that they are likely to influence adult vapor consumers to purchase the Defendants’
10   products under the mistaken belief that those products were lawful products that can
11   be sold in California and permitted under federal law and by federal regulators.
12   Defendants’ acts as described herein constitute unfair competition.
13         198. As a proximate and direct result of these false and misleading
14   statements, consumers were deceived into believing that the Defendants’ FDVs were
15   lawful products and purchased FDVs instead of lawful products such as NJOY.
16   Defendants’ false and misleading statements have resulted in fewer sales of NJOY
17   products and the loss of current and prospective customers who, but for the
18   Defendants’ conduct, would have done business with Plaintiff.
19         199. Plaintiff has been, and absent injunctive relief will continue to be,
20   irreparably harmed by the Defendants’ actions.
21         200. Plaintiff is also entitled to damages, trebled, and attorneys’ fees and
22   costs as a result of the Defendants’ willful conduct.
23                           FOURTH CLAIM FOR RELIEF
24            Violation of the Prevent All Cigarette Trafficking Act of 2009
25                               (15 U.S.C. § 375 et seq.)
26         201. Plaintiff specifically realleges and incorporates herein by reference
27   each and every allegation contained in Paragraphs 1 through 171.
28
                                               54
                                           COMPLAINT
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 1         202. Defendants’ conduct violates the federal PACT Act, 15 U.S.C. § 175 et
 2   seq., regulating the delivery sale of cigarettes, including e-cigarettes and vapor
 3   products, purchased on the internet.
 4         203. Defendants have, among other things, (i) failed to comply with all
 5   California laws generally applicable to sales of cigarettes, including e-cigarettes,
 6   pursuant to 15 U.S.C. § 376a(a)(3); (ii) failed to comply with the shipping package
 7   and other labeling requirements pursuant to 15 U.S.C. § 376a(b); (iii) failed to
 8   comply with age verification requirements pursuant to 15 U.S.C. §§ 376a(b)(4) &
 9   (d); and (iv) failed to register with the Attorney General of the United States and
10   with the State and file monthly reports, pursuant to 15 U.S.C. §§ 376(a)(1) & (2).
11         204. Defendants engaged and continue to engage in business with
12   distributors and retailers that they knew, or should have known, make delivery sales
13   of FDVs into California without satisfying the requirements of the PACT Act and
14   have aided and abetted violations of the PACT Act.
15         205. Plaintiff is entitled to bring this action against Defendants to prevent
16   and restrain violations of the PACT Act as a permit holder under Section 5712 of
17   the Internal Revenue Code of 1986. See 15 U.S.C. § 378(d).
18         206. Plaintiff has no adequate remedy at law for the foregoing continuing
19   wrongful conduct. Plaintiff has been, and absent injunctive relief will continue to
20   be, irreparably harmed by Defendants’ actions in violation of the PACT Act.
21                                PRAYER FOR RELIEF
22         WHEREFORE, Plaintiff prays for relief against Defendants as follows:
23         (1)    That the Court preliminarily and permanently enjoin and restrain
24   Defendants, its officers, directors, agents, employees and all persons and entities in
25   active concert or participation with it, from doing, abiding, causing, or abetting any
26   of the following:
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 1          (a)    marketing, distributing for sale, or selling any flavored disposable
 2                 vapor products in California that violate the State’s flavor ban;
 3          (b)    importing, marketing, distributing for sale, or selling in the United
 4                 States any flavored disposable vapor products;
 5          (c)    making false and misleading statements when selling, offering for sale,
 6                 promoting, advertising, marketing, or distributing FDV products;
 7          (d)    competing unfairly with Plaintiff in any other manner;
 8          (2)    That the Court Order Defendants to provide appropriate restitution for
 9   harm suffered by Plaintiff as a result of Defendants’ unfair competition.
10          (3)    That the Court Order Defendants to account for and pay over to Plaintiff
11   all profits received by Defendants from its unlawful, unfair, and fraudulent acts.
12          (4)    That the Court Order Defendants to account for and pay Plaintiff
13   damages to which Plaintiff is entitled as a result of the Defendants’ false and
14   misleading statements in violation of the Lanham Act.
15          (5)    That the Court treble such damages because of Defendants’ willful
16   actions.
17          (6)    That the Court award Plaintiff actual, compensatory, incidental, and
18   consequential damages.
19          (7)    That the Court award Plaintiff enhanced, treble, and/or punitive
20   damages.
21          (8)    That the Court award Plaintiff reasonable attorneys’ fees and the costs
22   of this action.
23          (10) That the Court grant Plaintiff such other relief as is just and proper.
24                              DEMAND FOR JURY TRIAL
25          Plaintiff demands a trial by jury on all triable issues of fact.
26   Dated: October 19, 2023         Respectfully submitted,
27                                     /s/ Lauren S. Wulfe
28                                   Lauren S. Wulfe (SBN 287592)
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                                            COMPLAINT
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